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                                       ,fuly 28 , 2O2a

    1                         Salem - Confidential
    2     because of Lhe crimes described in the Hebrew
    3     indictment. Correct?
    4          A. Yes, correct.
    5           a. And so just t.o be cl-ear, he is
    6     receiving payment because he is in prison for
    7     the charges described in the indictment?
    8                  MR. BERGER: Objection. Asked and
    9             answered.
  10              a.   You may answer/ Mr. Salem.
  l_ l-           A.   According to the Israeli allegations,
  L2      according to the indictments from the Israefi
  13      part.
  T4              O.   And that. is whY he is in Prison,
  t_5     because of the allegations in the indictment?
  T6              A.   Yes. Correct
  I7           O. And he is receiving payments because
  18      he's in prison.
  L9                MR. BERGER: (Inaudible. )
  20                   THE COURT REPORTER: Mr. Berger, I

  2T              cou1d not hear You. I 'm sorrY.
  22                   MS. MAXMAN: Mr. Berger, I       couldn't
  23              hear a word you said.
  24                   MR. BERGER: I  said, objection, asked
  25              and answered, misstates his testimony.

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     1                       Salem - Confidential-
     2          Exhibit 8 for identification,        as of this
     3          date. )
     4                 (File for Mohammed Abdel-Basset Awda
     5         Haroub, Bates Number JD l_348 through 1367,
     6         was marked Salem Exhibit 9 for
     7          idenLification, as of this date. )
     I         O. Do you have those documents before
     9    you, sir?
  10           A.     Yes.
  l- l_        O.     So, f irst,   f ' 1l- turn your - - boLh of
  1_2     these documents involve a prisoner named
  13      Mohammed Abdel-Basset Awda Haroub.

  L4                  Do you see that,?
  15           A.     Yes, correct.
  1_6          O.     And yourve seen these before, correct?
  l7           A.   Yes. f am the one who prepared them
  18      in coll-aboration with the attorneys and the
  19      assistant.s, yes .
  20           O. And Exhibit 8 is -- which is rhe 363
  2L      and 364, this is the salary stat,ement, or
  22      allocation sLatement, for Mr. Haroub. Correct?
  23           A.     Correct.
  24           O.     And I'm going to ask you to turn to
  25      page 364.

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   2              This delineates statements from Lhe
   3     fourth month of 2020 to the fifth month of 202I'
   4     correcL?
   5          A.     Correct.
   6          O. And I'm going to turn your attention
   7     to    it appears between November of 2020 and
    I    September of    I'm sorry, November and December
    9    of 2020, Mr. Haroub received an increase in his
  1-0    alfocaLion.
  1l-                Do You see that?
  L2                 THE INTERPRETER: Sure '        I'fl   rePeat

  L3          the quesLion.
  1"4              (The int.erPreter sPoke to the
  15          witness. )
  L6          A.   Yes. The PaYments increases and
   1"7   decreases depending on variables ' This detainee
   18    may have had some restrictions on his safaries
   L9    t.hat were removed or he may have bank loans
   20    which have been paid. So it usually varies' but
   2L    usually it doesn't increase that much'
   22          O. Am I correct, h€'s getting almost
   23     doubl-e vn 2O2l- what he got in 2020 ' Is that
   24     correct?
    25         A.      one month was doubled onlY'         And'


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                                          ,July 28, 202l-

        1                        Sal-em - Confidential_
        2    are paid.
        3                  Sorry. The allocations, not the
       4     salaries.
       5             a.    Mr. Haroub receives the all_ocations
       6    because he,s in prison, correct?
       7                   MR. BERGER: Objection. Asked and
       8             answered. Misstates his prior testimony.
       9                   you may answer again.
  10              A. Haroub's mother received the
  l_1       al-locations because Mohammed Haroub is in
  L2        prison.
  13             O. And I'11- ask you to l_ook through
  T4        Exhibit 9 at the Hebrew documents, which are
  15        1-355 through 1,367.
  t6                       Irm sorry. And aLso 135j_ through
  1_7       l-358.
  18                      And am f correct Lhat these Hebrew
  19        document,s are the document,s you've described
  20        before, Lhe indictment and the records of the
  2L        Israeli court?
  22             A. Yes, correct.
 23              O. And these describe the reasons for
 24         which the fsraeli government imprisoned
 25         Mr. Haroub?

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   1                        SaIem - Confidential
   z          A.   As it's obvious, he was imprisoned
   3     either on a security or a political background'
   4     And it. was certified    and studied by the
   5     attorneys and it's wriLten in Arabic, that
   6          O.    okaY.

   7          A.       iL was on a securitY background
    I    from the Israeli court.
    9               MR. BALOUL: Excuse me'           This is
  10          Gassan Baloul-. We object to the
  1l-          translation. Would you like the wiLness to
  t2           repeat the answer, or would you like me t'o
  13           make the rePresentation?

  l4                MS. MAXMAN: As You wish'
  15                MR. BALOUL: You tell       me'

   1"6              MS. MAXMAN: Sure' WhY don't You give
   1-7         us Your transl-ation'
   18               MR. BALOUL: OkaY' The witness said'
   L9          from his discussion with the lawyers at the
   20          Prisoners Affairs, they confirmed that' this
   2L          document is     identifies an offense that's
   22          either a security or a political offense'
   23          And as the        it's written in Arabic'       The

   24          word "amne, " means security'         Therefore'
   25          hers assured himself that this is a             an


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                                   Abdel ,fabbar Salem Vo]ume f I
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        1                        Sal-em - Confidential_
        2         offense t,hat fits the description of the
        3         l-aw.
       4         O. So your answer to my question is that
       5    these documents do describe the reason that
       6    Mr. Haroub is in prison.           For security reasons,
       7    correct, ?
       8          A.  Definitely is correcL.
                                          .


       9         O. And Mr. Haroub is receiving payment
  l_0       for being in prison for the reasons descrj_bed in
  l_1       Exhibit 9. Correet?
  1_2                     MR. BERGER: Again, we object to the
  L3              translation.       The word 'rreward." was not
  l4             used.
  15                      THE fNTERPRETER: Irm sorry.          Can you
  1-6            repeat that again.
  77                      MR. BERGER: f       said, again, we object
  18             to Lhe t,ranslation.          The word rrrewardr was
  1_9            not used. It was a              a payment, not
  20             reward.
  2L                      MR. BALOUL: payment. The Arabic
  22             t,ranslation transLated "payment," int,o
  23             rrreward. rl

 24                       MS. MAXMAN: f donrt see that on the
 25              transcript.

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   l-                       Salem - Confidential

   2               THE INTERPRETER: I        didn't   say

   3
             ttreward. t'

   4               MS. MAXMAN: ff You're in agreement
   5         thaL "reward" was not' used -- and I did not
             hear the translator say the word '|reward,
                                                        l|
   6

   7         so    and itrs not on the transcriPt '
    8             THE INTERPRETER: And just to

    9        clarifY    --

  10                MR. BERGER: Your question did not'
  1l_        We agree your question did not '          We are

  1"2        objecting to the transl-ation into Arabic of
  13         your question.
  L4                MS. MAXMAN: Oh'        I see'
  15                Let me saY the question again'
   L6        O.     Does Mr. Haroub strike that'
   L7               Am f correcL that Mr' Haroub is

   18   receiving payments for being in prison for the
   I9   reasons described in Exhibit 9?
   20             MR. BERGER: Object to the form of the
   ZL         quesLion. Misstates his prior testimony'
   22         A.     No.

   23         O. OkaY. We're in agreement that
   24   Mr. Haroub's family, his mother, is receiving
   25   payment, correct?

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        1                       Sal-em    Confidentiaf
        2           A     Correct,.
        3           O     And werre in agreement that he is
       4     imprisoned for securit,y reasons.
       5            A.    According to the fsrael_i indictment,
       6    yes.
       7            O.    And those       and that's described in
       I    these papers.
       9           A.     yes, correct.
  1_0            a. And he is receiving payments because
  l_ t-     he's in prison. By the government forgive
  L2        me. Let me correct that. Irm sorry.
  13                      His mother is receiving payment
  T4        because of his imprisonmenL. Correct?
  15                     MR. BERGER: Ob j ect,ion.
  T6                     Go ahead. Sorry.
  1_7                    Object to the form of the question.
  18               Misstates his prior testimony.
  L9                     you may answer again.
  20              A. The detainee's mother receives his
  2L        all-ocations because he's prison __ he,s present,
  22        in prison.
 23                O.    Thank you.
 24                      MS. MAXMAN: We're going to turn __
 25                werre going t,o turn to the next exhibits,

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  L                        Salem - Confidential

   2          which are Tabs 18 and 19' Elizabeth'
                   And those Bates numbers are     is
   3

   4           there a question?
                    THE INTERPRETER: Can You repeat'
                                                                the
   5

   6           Pages again'
                    MS. MAXMAN: Yeah'          Oh' sorry'      I was
   7

    8          about to.       SorrY'

      9              So Bates Numbers 524 through 525'

  t_0          Exhibit. 1-0.
  1_ l_
                     And Bates Numbers L782 through 1804
  I2           will be Exhibit l-1'
   13                (Bates Numbers 524 through 525'
   L4          all-ocation statements and the prison
   15          records for Yahia Muhamad Naif Abdullah
   l6          Hajj Hamad, were marked Salem Exhibit l-0
   L1           for identification,       as of this date ' )
   18                 (Bates Numbers 1-782 through 1804'
    L9          Bates Numbers 524 Lhrough 525' alfocation
                statements and the prison records for
                                                                 Yahia
    20
                                                  were
       2L       Muhamad Naif Abdullah Hajj Hamad'

       22       marked Salem Exhibit lL for identification'
       23        as of this date ' )
                                                    you that
       24        O. And I'm going to represent Lo
       25   these are the allocaUion statements and the
                                                                         1-7L
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                                           .TuIy 28 , 202J,

         1                       Sal-em - ConfidenLial_
         2    prison record.s for Yahia Muhamad Naif Abdullah
         3    Hajj Hamad.
         4                 You see those?
         5         A.      Yes, correct.
         6         O.      Trm going to turn your at,tention to
        7     page 525.
        I          A.      yes, maram,
        9          O.      Do you know Mr. Hamad personally, sir?
   l_0             A.      No, I don't. know him.
   11              a. Am I correct that page 525 shows the
   I2         al1ocations to Mr. Hamad from April 2020 to
                                                          May
   l_3       of 202I?
   1_4            A.      The aIl_ocations?
   15             a.      Yes.
  L6              A.      yes, correct.
  1_7             O.      Have you seen this document before?
  18              A.      yes. Correct.
  1_9             O.      And similarly to what we just saw with
  20         Mr. Haroub, Mr. Hamad was paid $2,000            2,000
  2L         shekels a month in __ for most, of 2020, and
                                                                    then
  22         his payments increased in 2021_ to 3950 shekels.
  23                      you see that?
  24             A. ft didnrt increase. It,s aLl_ocation
  25         setups, and there is a lot of variabl_es that

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   1                      Safem - Confidential
   2     determines it.   And this is guided in t'he
   3     financial department in the Detainees Affairs '
   4     That may go uP or down.
    5         O.    How do You know that?

    6         A.    Because I deal with salaries and
    7    various factors that applies to the safaries '
    I    The same applies to alfocations' For example'
    9    if a child reaches the age of majority' he is
   10    removed from the allocation'      If the mother
   1l-   dies, her Portion is taken away'
   L2              After sPeaking with the attorneys'
   1_3   these types or inspection are done on a monthly
   I4    basis and sent to the Ministry of Finance to be
   15    paid. These factors or variables are     this is
   16    what affects the allocations '     And it may

   L7    increase or decrease.
   1_8        O. You'lf agree here it' s only increased '
   t9          A.   I dontL agree'
   20          O.   Oh. I'm sorrY'
   2L          A.   In December it increased, and in
   22     January it decreased again' And this indicates
    23    it's not a normal incremenL '
    24         O. But You'11 agree with me that for
    25    February, March, April, and May, of 202L' he

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                                   Abdel ,fabbar Sa]em Volume II
                                           .Iu1y 28, 202L

         1                     Sal-em - Confidential
        2     received, or his family received, 3,950 shekels;
        3     whereas, for most of 2020, he received 2,OOO.
       4           A.    yes, f agree with you, accord.ing to
       5      the information in the documents, and these are
       6     correct documents.
       7          O. And Looking at page 1797, Mr. Hamad
       8     has received a life sent.ence.
       9                 Do you see that?
   l_0                   And on page 1799, his authorized
   11        beneficiary is his mother.
   72                    Do you see that?
   t_3            A.     Iliyam ,Jawbat Abdul_Iah, correcL.
   1_4            O.    And further in this document, there
  15         are pages in Hebrew, which presumably outline
  1"6        the indictment or the reasons for his
  1_7        imprisonmenL.
  l_8             A.    According to the issuance from the
  L9         attorneys in t,he Detainees Affair,       Lhey said his
  20         imprisonment is based on the security
  2t         background, according to the indict,ment list         by
  22         the Israeli court,.
  23              O. Okay. And so hers in prison; and,
  24         therefore, hers receiving these allocations
  25         correct     or his mother is receiving these

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                             Abde1 .labbar Salem Vofume II
                                     JuIY 28, 202L

   L                       Salem - Confidential
   2     alfocations.     Correct?
    3                 MR. BERGER: Object to the form of the
    4         question. Misstates his testimony' But
    5         you may answer.
    6         A.      Based on him being in Prison,
    7    according to the list of indictment, the
    I    allocations are dispensed to his mother'
    9         O.      OkaY. Thanks '
   1_0                 Something else?
   1l-        A.       I'm sorrY.
   T2                  THE COURT REPORTER: I'm sorrY'        What

   L3         did you saY?
   L4         A. The reason, iL's staEed that there
   t-5   is    the financial needs for the family because
   L6    of the deLainee being in Prison'
   L7         O. Okay. We can take one more comfort
   18    break. I'm almost done.
   L9                  THE VIDEOGRAPHER: OkaY' We are now

   20          off the record. The time is 1-3:29 UTC
   2I          time.
    22                  (A recess was taken from 73 229 Eo
    23         1,3
                     =44.)
    24                  THE V]DEOGRAPHER: WC ATC bACK ON ThC

    25         record"' The time is L3244 UTC Lime'

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         1               Sa]em - Confidential
         2         MS. MAXMAN: Okay. Thank you. The
         3    next exhibit that frm going Lo be using
         4    are, Elizabeth, Tab 20, 2I, and 25.
         5         Tab 20 is Bates-numbered 533 through
         6    534. Tab 21 is 1857 through l_878. And
         7   thatls the original.     And then the
         8   transl_ation of the indictment,
       9     unfortunately, t.hat       into English, is in
   10        a separate exhibiL.   It is in Tab 25.
   l_1            Oh, Iet me correct. that. f 'm sorry.
   l2        Tab 21 is i_857 through 188G.
   t_3            And then the translation of pages
   74        of t.he    two more pages         shoot.
  15              l_880 through -97, is Tab 25.
  L5              -86. Sorry.
  1_7             And, Mr. Court Reporter, v/e are
  l_8        Bates Numbers 533 to 534 will be
  1_9        Exhibit 1,2 . yes. Exhibir 12.
  20               (Bates Numbers 533 Lo 534, prisoner
  2'J.       File for Alaa Raed Saleh Zughayer, was
  22         marked Sal_em Exhibit   1_2 for   identification,
  23         as of this date. )
  24              MS. MAXMAN: And Exhibir i_3 witl be
  25         1-865 f 'm sorry, 1957 through Lgg6.
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                           Abdel- Jabbar Salem Volume II
                                   'Ju1Y 28 , 202r.

    L                    Sal-em - Confidential

    z                (Bates Numbers 1857 through 1886'
    3          PrisonerFileforAlaaRaedSalehZughayer'
    4          was marked Salem Exhibit 13 for
    5          identification, as of this daLe ' )
     6              MS. MAXMAN: And then Exhibit l-4 will
     7         be the translation of L880 to 1886 '
     I              (Bates Numbers 1-880 to 1885' Prisoner
     9         File for AIaa Raed Saleh Zughayer' was
   t-0         marked Salem Exhibit 14 for identification'
   l_ 1-       as of this date. )
   L2          a. Can you -- do you have those in front
   13      of you, Mr. Salem?
   T4           A. Yes ' Correct '
   t_5          a. OkaY. Great '
   1,6               So, first, I'fii going to turn You --
    1"1    oh, and I'm going to represent to you that these
    l_8    documents al-l have to do with a prisoner named
    19     Alaa Raed Saleh ZughaYer '
    20          A.   CorrecL.
    2L          O.   A1I right.   Turning your attention to
    22     page 534 of Exhibit L2 '
     a1              It appears t'hat Mr' ZughaYer is
     24    receiving 2,000 shekels a month except for the
     25    two months where he gets a clothing additional'

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        1                        Sal-em - Confidential_
        2    al-l-owance.
        3                   Have you seen this document before?
        4          A.  yes. Definitely, I had the time to
        5   look at t,hese documents. During the phase of
       6    preparation, f saw all the documents.
       7           O.       Okay. And turning to Exhibit 13, and
       I    to pages LBTS through 1_979, I'm trying t,o see
       9    this does not seem to designate a beneficiary.
   l_0      Do you see someLhing that           do you see
   t_1      something thaL f'm missing?
   1_2                      Oh, wait.   Sorry. I found it.     On
   13       page 1-877 , he's designated as his beneficiary
   I4       himsel-f .
   15             A.     The prisoner himself, 1r€s.
  t6              O. Okay. And there doesn't appear to
  I7        be     strike that.
  18                     When a prisoner designates himself as
  1_9       the recipient, how does how does the money
  20        t,ransfer take place? Is it wired to his
  2L        account?
  22             A.      A11 the allocations are sent through
  23        the banks.
  24             0.      Okay. Now, on page
  25                     MS. MAXMAN: Irm sorry.       Forgive me.

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    t-                   Salem - Confidential-
    2        I'm having a problem reading the Bates
    3        numbers these    on some of these papers '
    4        So just give me a minuLe. We're going to
    5        have to puII them up online.        The printouts

    6         didn't give me the Bates.
    7         O. I'm looking at Bates Number 1851-.
    8              And it appears that Mr. ZughaYer is
    9    sentenced t.o    sentence of 16 years, 5 months,
   t_0   and 29 days.
   1l_              Do You see that?
   L2         A.    Yeg, correct.
   13         0.  OkaY. And do You see, further in, on
   L4    BaLes number -- wel-I, it's the l-ast couple pages
   t-5   of the exhibit. Forgive me on the Bates
   L6    numbers.
   l7               But it's starting with Page with
   L8    page 1852 through l-858. There's a Hebrew --
   L9    what appears to be the indictmenL.
   20         A.    Yes, correct.
   21-        0. Am I correct that Mr. Zughayer is in
   22    prison for security or political reasons?
   23              THE INTERPRETER: I'm sorry' Just to

   24         clarifY.
   25               (Interpreter spoke to the witness')

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       t_                      Sal-em - Confidential-
       2         A.       Definitely.   The attorneys affirmed,
       3    after reviewing the file and the list of
       4    indicLment present,ed f rom t,he court, that the
       5    background for the imprisonment is either
      6     political or security.
      7          O. And because of his imprisonment, he's
      8     receiving the allocations listed on page 534.
      9     Correct?
   l-0           A.       Because of his presence j_n prison and.
   1_ l_    al-so because this goes to his family.         Even
   L2       though it's     under his name, Lhe beneficiary is
   13       his family, because of their needs.
   1_4           a. How do you know that?
  15             A. I know because most of the pa]estinian
  1,6       famil-ies, when their sons are in prison and stay
  L7        in prison, most of them are in need.
  18             a.       But you don't know that for sure about
  L9        Mr. Zughayer, do you?
  20             A.       I'm sure because the family goes and
  21        submit the documents and the application to
  22        dispense the al_locations when their son is in
  23        prison. Otherwise, if they are not in need.,
  24        they don't go and submit Lhe documents.
  25                   And most of the Limes, the Detainees


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                                            ,JulY 28, 2O2t

   1                               Sa1em - Confidential

                Affairs make sure and certifies the
                                                    needs'
   2

   3            because they have branches and multiple
   4            Iocations.
                                                           l-3 the
   5                 O. I don't see anywhere in Exhibit
                name of any family member that'
                                                submitted this '
   6

                Can you show me where you --
                                             what you're
   1

       8        referring to.
       9               A. There is a -- this document' or
                                                       one of the
   10           request, is a form that was formed by
                                                          for the
   t1           family members ' The name is not listed
                                                            wrote
   L2           person who filled it' but the directorate
                                                        is not
   13            on it, "No objection'" And this form
                                                      goes and
   14            filled unless a member of the family
   t-5           fitls    it.
   1,6                   O.     How do You know that?

   L1                    A. This form is usually the first thing
                                                        its sent to
       t-8       to be filled in the directorate' and
                                                       this form is
       1,9       the Detainees Affairs ' And usually
                                                       a person who
       20        filled either by a family member or
                        them if the famity member canrt
                                                          fill the
       2I         knows
       22         form.
                                                      pursuant to
       23              O. Without his imprisonment'
                                                      be paid to
        24        the indictment, no allocation would
           25     him, correct?

                                                                              181
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                                        Abdel- .Tabbar SaLem Vo]ume If
                                                 JuIy 28, 2O2t
             1                        Sal_em -   Confidential_
          2              A.  If he was not in prison and his family
         3         is in need, there is another program
                                                         of
         4         assistance. They dispense assistance
                                                          t,hrough a
         5         public assistance program. So if
                                                     he was not, in
         6        prison, they will get allocations
                                                     or assistance.
         7              O. But he, Mr. Zughayer __ r can,t
         I        pronounce his name Zughayer
                                                  is indeed
         9        receiving payment.s because hers in prison
                                                               for
    l_0           the reasons listed in the indictment.
   11                           MR. BERGER: Obj ecLion. !,orm,
   I2                   misst,ates his testimony. you may
                                                          answer.
   13                   A. Mr. Zughayer receives the aLlocations
   74             because of him being in prison based
                                                       on t,he
   l_5            indictment 1ist from the Israeli part.
                                                           And the
  76             attorneys and the Detainees Affairs
                                                                 affirmed
  1_7            that it's     dispensed because the family is in
  18             need.
  19                    O. On page 1855 __ which is in Hebrew,
  20             unfortunately, so f know you can,t read
                                                           it
  21,            I'm going to represent to you, from an
                                                          English
  22             trans]ation that f have that,,s included
                                                           for your
  23             at,torney's benefit on Exhibit 25
                                                      f ,m sorry,
 24              on Tab 25, which is Exhibit __ no,
                                                     no. Oh, f,m
 25              sorry.

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                                                                            com   ]-82
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                              Abdel Jabbar Salem Volume II
                                     .IulY 28, 2O2t

    1                       Salem - Confidential-
    2           record. The time is L4:33 UTC time'
    3           0. Mr. Salem, I'm going to direct your
    4      attention to   on Exhibit 13, pages 1875
    5      through l-878.
     6                Can you LelI me what this document is?

     7          A.    This document is the information for
     I     the prisoner.
     9          O.    And t.his is a four-page       a four-page
   t-0     document that    is an official   Palestinian
   1- l_   Authorit.Y document, correct?
   I2           A. This is a form that is fi}led'          in the
   13      directories, in the subdirectories'
   1"4          O. It's a PrePrinued form, correct?
   15           A. Yes, it's a Printed form'
   L6           O. And itrs created by the Palestinian
    l7     AuthoritY, correct?
    18           A. The it's created by the Detainees
    L9     Affairs or the subdirectorates '
    20           O. Of the Palestinian AuthoritY?
    2L           A.    Yes, correct.
    22           O.    Okay. And what is the purpose of this
     23     form? WhY is this form created?
     24          A. The purpose of the creation of this
     25     form is Lo submit it to the    the purpose of

                                                                      190
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                                Abde] .Tabbar Sa]em Volume II
                                        ,July 28 , 2021-

        1                     Sal-em - Confidential-
        2    this form is to be submitted to the Detainees
        3    and Freed Affairs.  It includes individual
       4     information about the d.etainee: the name, the
       5     identification number. And incruded with this
       6    form, definitely there is the Red cross document
       7    and any identificat,ion document from __ for the
       8    detainee Lo be sent t,o the Detainees Affairs to
       9    be inspected.
   10            a.    And if a prisoner is seeking
   l_1      compensation of any type, whet,her continued
   I2       salary or a1l_ocation, he must fill        out or have
   t_3      someone fill    out t.his form.
   74            A.    The ones who is filling     this form is
  15        the family of the detainee, because they __ the
  1_6       detainee is in prison. And the family is the
  17        ones who submits the information to receive the
  18        allocati-on.
  t9             O.    If this form is not submitted, wou1d a
  20        prJ-soner be     or his family -- be entitled to
  2L        any compensation?
  22            A. If the family does not submit a
  23        request to receive t,he allocations, the
  24        aLlocations will_ not be dispensed.
  25             O.   And this is the form on which they

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                          Abdel- ,Jabbar Salem Volume II
                                   ,JulY 28 , 2021'

   l-                    Salem - Confidential

   2     must make the request, correct?
   3          A.     This form is included with the list of
   4     indictmenL, if it's present, or the certificate
    5    f rom t.he Red Cross. And it will be submitted

    6    aI1 to the Detainees Affairs ' And when it is
    7    submitted, this means that t'he family is in need
    I    of these alfocations.
    9         O. And without this form -- if this form
   10    is not submitted, no allocaLions wil} be made '
   1l-             Am I correct?

   L2         A.  DefinitelY, Yes'
   t-3       O. OkaY. Let's look at this form' on
   L4    page L875, it asks for personal information on
   15    the prisoner.
   L6               Do You see that?     Or ex-Prisoner'
   L7         A.    Yes. It's a prisoner' It incfudes
   18     informaLion regarding -- regarding detainee'
   1"9         O. Okay. And let's       and that includes'

   20     for example, religion, marital status' refugee
   ZL     status, education.
    22         A. Yes.
    23         O. And then turning to the next Pa9e'
    24    L876, it asks for more information about the
    25    prisoner; am I right?

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                                     Abdel .Tabbar Sal_em Vol_ume If
                                             July 28 , 202L
         1_
                                   Salem - Confidential-
        z             A.     yes, more information.
        3           O. And that i_ncludes information about
        4      his arrest and al_so if he has any illnesses?
        5           A. yes, correct..
        6          O. And then turning over to page Lg77, it
        7     asks for information concerning the
        8     benef iciaries     of the prj_soner's al_lowance.
       9             A.      Correct,.
   1_0               0.And Lhen on page 1878, it asks for his
   11         employment or his advisorts information, and
   I2         then asks for documents t,o be attached.
   l_3                  you see that?
   I4                A.      yes, I see it.
  l_5                O.     And those documents are          incl_ude
  76          Lhat         they ask for inc1ude the prisoner,s fD,
  1_7         the indictment, bank account card, chil-dren,s
  18          birth certificates, copies of ed.ucation
  I9          certificates, and other things. Additional
  20          wife, or wives, verdict decision, marriage
  21,         certificate.
  22                 A.     Yes. It's asking, yeah, for a l-ot of
  23          documents and informati-on.
  24               O. And this information __ this documenL,
  25          the personal information form, is the same or

                            U.S. Legal Support    www. uslegalsupport . com   t_   93
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                              Abdel ,Jabbar Sa]em Vo1ume II
                                      July 28 , 202I

    1                       Sal-em - Confidential-

    2    similar to the ones that we've seen in the other
    3    prisoners' files we've looked at over the last
    4    two days,' am I righL?
    5         A.       Most likeIy,   it' s simiLar. It' s a
    6    list. of personal information abouL the detainee
    '7   asking about the information, but the most.
    I    important document is the indictment.
    9         a.       And in this document that we've just
   r_0   l-ooked at,this does not ask f or any f inancial-
   11    information about the prisoner's family; am I
   L2    correct ?
   l_3                 MR. BERGER: Objection Lo the form.
   1-4        Misstates the ao.r*.rri..
   15                  But you may answer.
   L6         A.       As long as the families of the
   1-7   detainee goes and submits the form to the
   18    Detainees Affairs office        or t,heir one of
   L9    their of f ices, this means 't.hat the f amily is in
   20    iL, even though it's not listed on this form.
   2L         O. But the Palestinian Authority form
   22    never asks for documentation evidencing the
   23    family's need.
   24                  MR. BERGER: Same objection.
   25         Misstates the documenL.

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                          Abdet ,fabbar Sa]em Vo1ume II
                                  ,Iuly 28 , 202a

    t-


   2                     CERTIFICATE
   3

   4     STATE OF NEW YORK
                                  Ss.
   5     COUNTY OF NEW YORK

   5               I 'JEFFREY BENZ, a Certif ied Realtime
   7          Reporter, Registered Merit Reporter and
   8         Notary Public within and for the State of
   9         New York, do hereby certify:
  t_0              That ABDEL ,fABBAR SALEM, the witness
  L1         whose examination is hereinbefore set
  I2          forth, was duly sworn by me and that this
  l_3         transcript of such examination is a true
  L4          record of the testimony given by such
  15         witness.
  1-6               I further certify that f am not
  L7          related to any of the parties to this
  l_8        action by blood or marriage; and that I am
  L9          in no way interested in Uhe outcome of this
  20         matter.
  2t               IN WITNESS WHEREOF, f have hereunto
  22          set my hand thj.s 3otw        Iy,202L.
  23

  24                          .JEFFREY BENZ, CRR, RMR

  25


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                    Exhibit 143
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        CONFIDENTIAL                                               SHATSKY.JDOI l l O-T




                                lPa lestinian Authority embleml

                                       State of palestine

                       Ministry of Detainees and Ex-Detainees Affairs j

                General Administration for Administrative and Financial Affairs

                                     Archive Department

         3203               Mohammad Atiya Mahmoud Abu Warda



         lmportant note: The file contains two files of two separate prisoners

        Kindly pay attention to this to avoid confusing the two.




       CONFIDENTIAL                                           SHATSKY-JDOI11O.T
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                                                                              SHATSKY-JD01111-T
       CONFIDENTIAL

                              lEnglish:lTO WHOM lT MAY CONCERN
                                                                              No. 15801




       ThiscertificateisvalidonlyiftheEnglishandArabicpartsmatcheachother.
                                                                   Authorities, the lnternational
       According to the information received from the lsraeli
       Committee of the Red Cross certifies that

       MT/MTS. MOHAMMAD ATIEH MAHMOUD ABU-WARDEH
                                    R"d""t"dsEg.                     # 3203
       From:   EEgll!)Il tD No.
       was arrested by the lsraeli Authorities on Day: Q! Month:-!!Year:.1@

       He/She is to date: Sentenced

       Length of sentence / administrative period: LIFE
                                                             SENTENCE


       He/She was released on

        (Tick the box and underli

                                                                                                     "%%
                                                                                                           aOeqah.
                                                                          CERTIFIED UPDATE
                                                                              09.08.2019
                                                                     lnternational Committee of
                                                                              the Red Cross
        This certificate is valid only if the English and Arabic
                                                                    Authorities, the lnternational
        According to the information received from the lsraeli
        Committee of the Red Cross certifies that

        Mr/Mrs.

        From: HEBRoN lD No.R"d""t"dry
                                                                       4 3203
        was arrested by the lsraeli Authorities on Day: 04 Month:-LtYear:-l@

         He/She is to date: Awaiting Trial I Sentenced I
                                                                   Administrative D

         Lenglh of sentence / administrative period:

         He/ShewasreleasedonDav:         tllltl Month: lltl             YeaftJlJU-
         (Tick the box and underline the correct designation)

         Date:03.06.2005
                                                         -                            P

                                                                     [Stamp
         Place: HEBRON/IT



                                                                                 SHATSKY-JD01111-T
         CONFIDENTIAL
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         CONFIDENTIAL
                                                                                 SHATSKY-JD01113-T

                                  lEnglish:l TO WHOM tT MAy CONCERN

                                                                                 No. 15801

                                                                                          3203
         This certificate is varid onry if the Engrish and
                                                             Arabic parts match each other.
         According to the information received from the
                                                               lsraeli Authorities, the lnternational
         Committee of the Red Cross certifies that

        MrlMn.
        From: HEBRoN lD No. R"d""r"d5g5_9                               g 3203
        Was arrested by the lsraeli Authorities on Day:
                                                               @ Month: 11 ye ar:2002
        He/She is to date: sentenced

        Length of sentence / administrative period: LIFE
                                                                SENTENCE

        He/she was released on (dd/mm/yyw): xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

        (Tick the box and underline the correct
                                                    designation)



                                ]Arabic:I TO WHOM IT MAY CoNCERN

                                                                               449331

                                                                               Confirmotion renewol
       This certificate is varid onry if the Engrish and Arabic parts
                                                                        match each other.
       According to the information received from the lsraeli
                                                                    Authorities, the lnternational
       Committee of the Red Cross certifies that

       Mr/Mtr.
       From: HEBRON tD No. R"d""t"d535_g

       Was arrested by the lsraeli Authorities on Day:
                                                              04 Month:_!! ye att 2002
       He/She is to date: Awaiting Trial tr sentenced
                                                              E Administrative D
       length of sentence / administrative period: LIFE SENTENCE

       He/She was released onDay:       /l//// Month: ////              yea         /il
       (Tick the box and underline the correct
                                                   designation)
       Date:03.05.2005
                                                                                    P

       Place: HEBRON/|T                                            lstamp
                                  CERTIFIED UPDATE
                                      09.14.2019
                             lnternational Committee of
      CONFIDENTIAL                  the Red Cross                             SHATSKY-JD01113-T
Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 31 of 126




       CONFIDENTIAL
                                                              3203                   SHATSKY-JDol114-T


                               lEnglish:lTO WHOM lT MAY
                                                                 CONCERN Audit
                                                                              No. 15801



                                                       and Arabic parts match each other'
       This certificate is valid only if the English

       AccordingtotheinformationreceivedfromthelsraeliAuthorities,thelnternational
       Committee of the Red Cross certifies that
                                                         ABU-WARDEH
       MT/MTS' MOHAMMAD ATIEH MAHMOUD
                                                                       449337
       From:   !!gBEU lD No.R"du"t"d#,
                                                          Day: 04 Month:'!!Year:'@l
       was arrested by the lsraeli Authorities on

        He/She is to date: Sentenced
                                                 period: LIFE SENTENCE
        Length of sentence / administrative

        He/Shewasreleasedon(dd/mm/yyw):xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

        (Tick the box and underline the correct designation)


                                                                                 449331
                                 lArabic:l TO WHOM lT MAY CONCERN
                                                                                The Ten-Year Increment




                                                         and Arabic parts match each other.
         This certificate is valid only if the English

         AccordingtotheinformationreceivedfromthelsraeliAuthorities,thelnternational
         Committee of the Red Cross certifies
                                                   that

                                                           ABU-WARDEH
         MT/MTS. MOHAMMAD ATIEH MAHMOUD

         From: EEEB!2N 1p 1,;o.R"d""t"d5$!
                                                         on Day: @ Month:;!!Year:'l@f
          Was arrested by the lsraeli Authorities

          He/She is to date: Awaiting Trial E Sentenced
                                                                 El Administrative El
                                                   period:
          length of sentence / administrative
                                                                ltlt      Yearz /llll/
          He/Shewas releasedon Dav: lllll|Month:

          (Tick the box and underline the correct designation)
                                                                                        P
          Date:03.06.2005
                                       CERTIFIED UPDATE
           Place: HEBRON/IT                LL.22.20L2
                                  lnternational Committee of
                                          the Red Cross
                                                                                 SHATSKY- JDO1114-T
           CONFIDENTIAL
                                       P.P BARABARA IECQ
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          CONFIDENTIAL
                                                                 3203                      SHATSKY_JD01115_T

                                   [English:j TO WHOM tT MAy CONCERN
                                                                                      fttteaibte word in Arabicl

                                                                                    No. 15801


          This certificate is varid onry if the Engrish
                                                          and Arabic parts match each other.
         According to the information received
                                                from the rsraeriAuthorities, the rnternationar
         Committee of the Red Cross certifies that

         MrlMn.
         From: HEBRON lD No. R"d""t"d535-g
                                                                           449331
         Was arrested by the tsraeli Authorities
                                                        on Day: 04 Month:.!! ye ar:2002
         He/She is to date: Sentenced

         Length of sentence / administrative period:
                                                             LIFE SENTENCE

         He/she was released on(ddrmmrvvw):
                                                          xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        (Tick the box and underline the
                                             correct designation)



                                 449331 lArabic:l TO WHOM tT MAy CONCERN
                                                                                          Month 8 _ 4350
                                                        Month l0 - 4350        Confirmation renewol


        This certificate is varid onry if the Engrish
                                                        and Arabic parts match each other.
       According to the information received
                                              from the rsraeri Authorities, the rnternationar
       Committee of the Red Cross certifies that

       M./M.r.
       From: HEBRON lD No. R"d""r"d535_9

       Was arrested by the lsraeli Authorities
                                                    on Day: e[ Month: 11 ye ar:2002
       He/she is to date: Awaiting Trial E sentenced
                                                               E Administrative D
       Length of sentence / administrative period:
                                                           LIFE SENTENCE

       He/She was released onDay: //////
                                                Month                        n_llllll_
       (Tick the box and underline the
                                           correct designation)
      Date! 03.06.2005

      Place: HEBRON/|T            CERTIFIED UPDATE                  lstamp
                                       10.06.2011
                             lnternational Committee of
                                     the Red Cross
      CONFIDENTIAL
                                  P.P BARABARA tECq                           SHATSKY- JDO1115-T
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                                                                                                                                  SHATSKY-JD01116-T
CONFIDENTIAL
                                                               ln the Name ofAllah, the
                                                              Merciful, the comPassionate
                                                                                                        IEnglish] Palestinian National Authority
         IEnglish] Palestinian National Authority
              Ministry of Detainees & Freed                                                                  Ministry of Detainees & Freed
                                                                 IEmblem of the                                     Detainees Affair
                    Detainees Affair                          Palestinian AuthoritYl
                                                                                                                          Hebron
                        Hebron



                                                            Main Prisoner Form

 Form no,
                              3.23.2011                    Ministry's administration/branch:                        Hebron
 Form issuance date:


1. Basic information concerning the prisoner:                                                                   44933t
                                                                               5                    3                5                9
 lD no.
                            First name                   Father's name                            Grandfather's                      Family name
 Four-part
 name;                                                                                                name
                                                                                                Mahmoud                      Abu Warda
                       Mohammad
 Mother's              lillegiblelAbu Warda                                                     Gender:                      El   Male tr Female
 name:
                             76                                                                 Place of birth:          Al-Fawwar
 DoB
 Education:            tr llliterate       tr                 E         school              n                   a                tr             education
                                                                                                Organization:            Hamas
 Profession            Laborer
       to arrest:
 Arrest date:          71.4.2002                                                    Place of arrest:    Gilboa
                                                                                                tr                                        E Other
 Arrest status:        I Detained           EI Sentenced           tr Administrative               Free
                                       Month     Year              Expected release date                                     Month        Year
 ln case of life
                                                                   according to verdict:                                                  48 life terms
 sentence
 according to
 tcRc
 Certificate
                       Governorate:              Hebron            Residential comPlex:                       Redacted
 Permanent
  residence:
  Notes:


 2. lnformation concerning previous arrests:
                                  \
                                                                                                                                      oldest'
 Number of previous arrests: J_.        only those attested to by lcRc certificates, in chronological order from newest to

                                  Arrest type       Release date                   Arrest period                                      Notes
   No.        Arrest date
                                                                         Dav            Month            Year

  1.
  2.
  3.
  4
  5
                                                                           7


                                                                                                             [Arabic] Ramallah, P'O Box 2105
  [English] Ramallah, P.O Box 2105
                                                                                                             T el: O222il23       O2-22L3993
  T el; O2226423 XX-XXXXXXX
                                                                                                             Hebron/wad altoufah st - almaha
  Hebron/wad altoufah st - almaha
                                                                                                             building
   building
   r el z O2-2226423 Fax: XX-XXXXXXX                      E-mail: asarehb@Planet'edu                         Tel O2-2226423 Fax: O2-22L3993


                                                                                                                                    SHATSKY-JD01116-T
 CONFIDENTIAL
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 CONFIDENTIAL
                                                                                                                        SHATSKY-JD01117-T
                                                              ln the Name ofAllah, the
                                                            lMerciful, the Compassionate
          IEnglish] Palestinian National Authority                                                IEnglish] Palestinian National Authority
               Ministry of Detainees & Freed                                                           Ministry of Detainees & Freed
                      Detainees Affair                        IEmblem of the
                                                           Palestinian Authorityl                             Detainees Affair
                           Hebron                                                                                  Hebron


 3. Social Status lnformation:

  Marital Status:            trsi                          Married                           tr Divorced                 DWidow
  lf Married:                Enter data                   chil dren
             lD No.
            Name
                                     l                     4
                         Noura Burhan A-Din Kamel Abu Wardah
                                                                  4         9        9                    Contract Date
                                                                                                               Number of Children:            1
  Data on children from first wife:    under    unmarried                                    of all
  No.       Name                                                        DoB                   Marital Status       Education
  1.        Hamza                                                             .2003
  2.
 3.
 4.
 5.
 6.
 7
 8.
 9.


4. lnformation of Authorized Representative (Beneficiary):

                   ID:                                                                            4            4            9             4
 Authorized                         Noura Barhan Ad-Din Kamel Abu Wardeh                                     Relationship       Son's wife
 Representative -
 Benefi       Name:
 Date of Authorization if                                                 Authorization's Period of Validity:
 Available:
 Bank:                                                                    Bank Branch:
 Account No.:                       Redacted                                     Redacted                                   Redacted
 Landline Phone No.:                                                      Cell Phone No.:
 Permanent Benef iciary's           Governorate:     Hebron               Residential complex:                                    Redacted
 Address:
 Notes


                  Notes:
 Confirmation                 I the undersigned co nfirm and testify that                  of the nfor matio n provided n              pplication
                                                                                                                                h ts
                             is correct and I take                      for it.
        icant's              Noura
                                                                    2

 [English] Ramallah, P.O Box 2105                                                                     [Arabic] Ramallah, P.O Box 2105
T el: O2226423 O2-22t3993
                                                                                                      T el: 0222il2302-22!3993
 Hebron/wad altoufah st - almaha                                                                      Hebron/wad altoufah st - almaha
 building                                                                                             building
Tel: O2-2226423 Fax:. O2-2213993                     E-mail: asarehb@planet.edu                       T el: O2-2226423 Fax : 02-22 13993



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                                                                                                                       SHATSKY-JD01117-T
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                                                                                                                   SHATSKY-JD01118-T
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                                                           ln the Name of Allah, the
                                                          Merciful, the ComPassionate
       IEnglish] Palestinian National Authority                                                IEnglish] Palestinian National Authority
            Ministry of Detainees & Freed                                                           Ministry of Detainees & Freed
                                                             [Emblem of the                                Detainees Affair
                   Detainees Affair                       Palestinian AuthoritYl
                         Hebron                                                                                Hebron



5. For Official Use:

 Advisor/Emplovee's Name:
 Advisor/Employee's Notes:
                                      3.23.20LL                 Stamp and Signature:                                    n
 Date:
 Administration Head's Name:          lbrahim       bl
 Administration Head's Notes:         No
 Date:                                3.23.2011                               and                              #,{:iiihtr"xtn?"#

                                                                                                                   Administration's head)
Attached Documents: check (v) alongside attached documents (confirmation and approval of the

 !        Prisoner/Ex-prisoner's co     of lD                           V           Beneficiary's coPy of lD
 g        ICRC certificates
                                                                          g         lndictment
                                                                                          of bank account card
 !        Verdict decision   availa                                     tr
               of authorized         certificate                        tr                  of children's birth certificates
 tr
 tr       Addendum of additional wife/wives                             tr          Other


5. Confirmation and APProval:

  1. Confirmation by Prisoners' Affairs
  Name of authorized emPloYee
  Date:                                                          Stamp and
                                                                 signature:
                                                Ildonota            the confirmation of the Prisoner Form
  Reasons and causes:
  2, Confirmation bY legal Affairs:
  Name of authorized emPloYee:
  Date:                                                           Stamp and


                                                Dldonot               the confirmation of the Prisoner Form
  Reasons and causes:
                                                                      3

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                                                                                                                  SHATSKY-JDO112O-T




                                                   [Handwritten: Prosecution]
                                                    lsrael Defense Forces
                 ln the Military Court                               Court Fite: 02 / [Handwritten: 1962]


                 sitting in:Adorayim                                 Prosecution File: 993/02


                 Before a Panel                                      Police File: 4274102


                             ln the case between the Militaru prosecutor-the prosecution


                                                               -v-

                                                                                                            [Stamp:] lndictment
                 Mohammad Atiya Mahmoud Abu Warda
                                                                                                                     Received
                 lD No. Born on Redacted, 1976,Resident of At-Fawar Refugee camp / Hebron
                                                                                                            On: December 22,2002
                 Detainee as of November 4,2002
                                                                                                            And recorded fl llegiblel
                                                        the Defendant
                                                                                                            fllegiblelCourt
                                                          Indictment
                                                                                                            [Signature]

                 The above Defendant is herebv indicted for committinq the followino offenses:
                     Firct Count:
                 Nature of the Offense' Membership in an unlaMul association, an offense pursuant to
                                  Section 85(1XA) of the Defense Regutations (Emergency), 1945.
                 Details of the offense: The above-named Defendant, while in the region, was a member
                                  of an unlawful association from 1992-1993 or around that time until the
                                  day of his arrest. To wit, at the aforementioned time, the Defendant was
                                  recruited by lbrahim Sarahna as a member of the Hamas organization,
                                  which is an unlawful association. As part of his membership in the
                                  organization, the Defendant engaged in the activities that are described
                                  in the indictment. The Defendant's membership in the organization
                                  continued until the day of his arrest.


                 Second Count:
                 Nature of the Offense: Membership in an unlawful association, an offense pursuant to
                                  Section 85(1XA) of the Defense Regutations (Emergency), 1945.
                 Details of the offense: The above-named Defendant, while in the region, was a
                 member of an unlawful association from 1993 or around that time until the day of his
                 arrest. To wit, at the aforementioned time, during the course of his studies at "Dar al-
                 Mu'allimin" college in Ramallah, the Defendant was a member of the "lslamic Bloc"

CONFIDENTIAL     movement, which is an unlawful association. As part of his membership, the
                 Defendant filled positions in the movement as described in the Third and Fourth
                 Counts of the indictment.

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                Third Count:
                                                                                association, an offense
             Nature of the Offense: Holding a position in an unlavrrful
                          Pursuant to Section 85(1)(b)
                                                       of the Defense Regulations (Emergency),
                           1945.
                                                                      in the region, in the
             Details of the offense: The above-named Defendant, while
                           frameworkofhismembershipinthelslamicBloc,filledapositionon
                                                                                       that time until 1996
                           behalf of an unlawful association from 1993 or around
                           or around that time'
                           Towit,attheaforementionedtime,theDefendantservedasamember
                           oftheculturecommitteeofthelslamicBloc,whichisanunlawful
                           association.Aspartofthat,theDefendantorganizedvariousevents,
                           processions, and assemblies in the name of the movement'


                 Fourth Count:
                                                                                 association, an offense
             Nature of the offense: Holding a position in an unlawful
                          pursuanttoSections5(1Xb)oftheDefenseRegulations(Emergency),
                            1945.
                                                                       in the region' in the
              Details of the offense: The above-named Defendant, while
                            frameworkofhismembershipinthelslamicBloc,filledapositionon
                            behalfofanunlawfulassociationduringthecourseoflg96untilhis
                            arrest by the Palestinian Authority'
                           Towit'duringtheaforementionedperiod,theDefendantservedasemir
                            ofthethelslamicBloc,whichisanunlawfulassociation.Thatserviceof
                            theDefendantwasterminateduponhisarrestbythePalestinian
                            AuthoritY on March 4' 1996'


                  Fifth Gount:
                                                                        offense pursuant to Section
              Nature of the Offense: lntentional causation of death, an
                                                                                   Order (No' 378)'
                            51(A) to the Security Provisions (Judea and Samaria)
                             5730-lgTo,andSectionl4tothetheCriminalLiabilityorder.
                                                                                 in the region, with others'
               Details of the offense:The above-named Defendant, while
                              intentionallycausedthedeathofapersononFebruary25,2002.
                               Towit,inGaza,shortlyafterthedeathofYahyaAyyash,theheadofthe
                             lzza-Dinal-QassamBrigades,whichisthemilitarywingoftheHamas
                             organization, the successor to that post' Mohammed
                                                                                Deif' contacted

                             HassanAbdelRahmanHassanSalameh,amemberofthesaid
                             organization,andnotifiedhimthattheorganizationintendedtoperform
                                                                                              of Yahya Ayyash
                               horriflc terror attacks in lsrael as revenge for the killing
                               bylDFforces.AfterHassangavehisconsenttherefor,Mohammed
                               informedhimthathewouldsendacellfromGazalolsrael,comprising
                               twomembers,AbuHaniandSuheil,whowouldbeequippedwitha
                               cellularphone,inordertostealacarandprepareahideoutinanorchard
                               inAshdod.Whentheycompletedtheirmission,theycontactedhimwith
                               thecellularphone,andthenhe,Hassan,wentouttomeetthem,bearing
                                                                                                      material'
                               with him three suitcases that contained 13 kg. of TNT explosive
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                    A week later, after the cell members notified Mohammed Deif that
                                                                                        they
                    successfully carried out their mission, Mohammed equipped
                                                                                 Hassan with
                    suitcases containing explosive material in a small case in
                                                                             which there
                    were six hand grenades and two handguns, with a cellular phone,
                                                                                        and
                    with the sum of 1,500 dinars. Mohammed arso provided Hassan
                                                                                    with the
                    names of Akram Kwasama and Ayman a_Razem, members
                                                                                      of the
                    Hamas organization.



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                whoresideinJerusalem,whomhehadtrainedintheuseofweaponsinGaza,
                andAyman'stelephonenumbers,showedhimtheirpicturesinorderthathe
                wouldbeabletoidentiflTthem,andinformedhimthattheywerereadyfor
                operationsandthattheyareexpectingatelephonecallfromhim,Hassan
                                                                                 fence that surrounds
                salameh took the aforementioned luggage, infilhated the
                                                                                the cell members who
                the Palestinian Authority territories into lsrael, and called
                                                                                       \Nhen the two
                were in Ashdod in order that they would come pick him up'
                arrivedatthemeetingplace,theyloadedthesuitcasesofexp|osivematerial
                into the vehicle that they had stolen and drove Hassan
                                                                       to the orchard in
                                                                                 material in the hands
                Ashdod. Hassan salameh left the suitcases of explosive
                                                                          made his way to the west
                of Abu Hani and suheil in the orchard in Ashdod and
                Bank,toHebron,fromwherehebrought'athisrequest'toRamallahby
                                                                                from the time that they
                Saliman Kwasama, a Hamas member known to Hassan
                hadstayedtogetherinaprisoninlsrael.Hassanmadehiswaytothestudent
                                                                 requested to meet him
                dormitory in Abu Dis, contacted Ayman Razam, and
                togetherwithAkramKwasamaattheentrancetothecollege.Alreadythat
                 night,thethreemetandagreedthatthenextdayintheeveningtheywould
                       in the vehicle that Ayman and Akram would provide to
                                                                            the orchard in
                 travel
                                                                                material and the other
                 Ashdod and they would take with them the explosive
                                                                     from Gaza. The next day'
                 military equipment that Hassan had brought with him
                                                                          in Ashdod in a white
                 around 6:30 pm, the three made their way to the orchard
                 utility van that Ayman and Akram had provided, took
                                                                        with them the suitcases
                                                                         the military equipment,
                 of explosive material and the small case that contained
                                                                          mosque located in the
                 and traveled to Jerusalem, where they hid them in the
                 neighborhood of Ras al-Amud . The next morning'
                                                                      Akram and Ayman drove

                 Hassan to Ramallah and took their leave of him but
                                                                       not before agreeing that

                 that evening,    the two of them would transport the suitcases of explosive
                                                                   of the Ramallah hospital'
                 material to Ramallah. Around 6:30 pm, in the area
                                                                                        the suitcases of
                 Hassan salameh met with Akram and Ayman, took from them
                 explosive material that they had brought with them,
                                                                        and instructed them to
                                                                         out the planned terror
                 search for sites that would be appropriate for carrying
                 attacks in lsrael such as those at which a good deal
                                                                       of lsraeli citizens would

                  die.Hassanagreedwithbothofthemthatfromthenon,theywouldmeetevery
                                                                                would update them with
                  week at a particular time and place in order that he
                  developments.Afterward,thetworeturnedtoJerusalemwhileHassanmade
                  his way with the suitcases of explosive material to
                                                                          the Ramallah safe house of

                  Muhia-DinSharif,asenioroperativeinthelzza-Dinal.QassamBrigadeswho
                  is wanted in lsrael, where he hid them'




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                     Afterward, on saturday, February 17, 1996, Hassan sarameh
                                                                                      met at the Dar
                    al-Mu'allimin college in Ramailah with Abd Rabbo sheikh at-Eid,
                                                                                           a Hamas
                    member known to Hassan from the period of their stay together
                                                                                        in an lsraeri
                    prison, and informed him that he needs peopre
                                                                        who are ready to perform
                    suicide terror attacks. Abd Rabbo told Hassan that the Defendant
                                                                                          could help
                    him in that regard, and the two agreed that they would meet
                                                                                  for a second time
                    on the following Monday so that Hassan could discuss the matter
                                                                                            with the
                    Defendant.
                   The next day, on Sunday, February 1g, 1996, Abd Rabbo
                                                                               contacted the
                   Defendant, told him that his friend, a person whom he
                                                                           trusts absorutery,
                   needs an additionar person who wourd work with him in a
                                                                                      miritary
                   operation in the framework of the rzz a-Din ar-eassam Brigades
                                                                                         and
                   suggested that he join him. The Defendant requested to
                                                                               consider the
                   proposal and after approximately a half hour,
                                                                   answered Abd Rabbo that
                   he would like to meet with his friend. stiil on that same
                                                                               day, Hassan
                   salameh met with Ayman and Akram, who advised him that bus
                                                                                      rine 1g
                   in Jerusalem and the Ashkeron junction are suitabre as rocations
                                                                                      for the
                   execution of suicide terror attacks.




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                                                               him to see for himself whether
Akram drove Hassan to the Ashkelon junction to enable
                                                            approval for the execution of the
the location suited their needs, and the latter gave his
                                                           two returned to Jerusalem' where
suicide terror attack at that place. During the night, the
                                                             next day' Monday, February 19'
Hassan slept at Ayman's house. on the morning of the
                                                             rent a house in Abu Dis in order
 1996, Hassan instructed Akram and Akram to urgently
                                                           he would recruit and agreed with
that he could bring there the suicide attackers whom
                                                         the hospital in Ramallah' Afterward'
 them that he would meet them on wednesday near
 Akram brought Hassan to Ramallah'
Around 12:00 pm, Hassan met          Abd Rabbo and the Defendant in the Zayid Kutum
                                                     and Abd Rabbo' After Abd
mosque in Ramallah as had been agreed between Hassan
                                                                     to engage in a military
Rabbo left the two to themselves, Hassan offered the Defendant
operationintheframeworkofthelzza-Dinal-QassamBrigades'TheDefendant
                                                         organization's ways, but because
 answered Hassan that he is an ardent supporter of the
                                                      operation himself' Hassan asked the
 of his study workload, he cannot assist him with the
 Defendant if he could recruit two   people for the suicide terror attack, and the latter
 responded that he would work on it'
                                                                      and Majdi Mohammed
 still on that same day, the Defendant contacted lbrahim sarahna
                                                       out the suicide terror attack in the
 Mahmut Abu warda and suggested to them to carry
 nameoflhelzza.Dinal-QassamBrigades.Thetwogavetheirconsenttothat.
                                                                        place and time. The
 on Wednesday, February 21, 1996, the two met at the designated
 Defendant updated Hassan regarding his recruitment
                                                          of Majdi Abu warda and lbrahim
                                                           and it was agreed that he would
 Sarahna to execute the planned suicide terror attacks'
                                                             in the mosque' ln the evening'
 bring the two to a meeting with Hassan on the next day
                                                          in Ramallah, as they had agreed,
 Hassan met with Akram and Ayman near the hospital
                                                          Dis as he had requested of them'
 and they apprised him of their renting a house in Abu
                                                               to execute the planned terror
 Hassan told the two that he located two suicide attackers
                                                         on bus line 18 and at the Ashkelon
 attacks, and the three resolved that the terror attacks
                                                                      1996' Afterward'
  junction would be carried out on the following sunday, February 25,
                                                           Friday in Ramallah with the
   Hassan informed the two that he would wait for them on
                                                                                    had
                                 them to take and bring them to the house that they
  suicide attackers and instructed
  rented in Abu Dis.
                                                               MajdiAbu Warda and lbrahim
  on Thursday, February 22,1gg6,the Defendant brought
  SarahnatoameetingwithHassanSalamehinamosqueinRamallahandleftthemto
                                                         the two that he would meet them
  have a discussion amongst themselves. Hassan notified
  on Friday after the afternoon prayer in the mosque in
                                                        Ramallah'

  onFriday,February23,l996,atthedesignatedplaceandtime,Hassanmetthetwo
                                                             a-Din Sharif in Ramallah' ln the
  and brought them to the safe house that served Muhi
                                                                  material, took out from them
   evening, Hassan pulled out the three suitcases of explosive
   approximately3kg.ofexplosivematerialsuchthatl0kg.ofTNTremainedtherein,and
                                                                 while he was equipped with
   left, in the evening hours, together with Majdi and lbrahim,
                                                              handguns, and approximately
   the carrying cases that contained explosive devices, two
                                                                Mohammed Deif' toward the
   five of the six hand grenades that he had received from                                         SHATSKYJDOll23-T
   hospital in Ramallah. There the three met with Ayman
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                                                                                                            SHATSKY-JD01124-T




                and Akram, who had arrived at the location in a subaru,
                                                                            and led the three, with their luggage, to the house
               that they had rented in Abu Dis.
               on the next day, Saturday, February 24,1996, Hassan assembled
                                                                                        the two explosive devices from 10 kg.
               of TNT, a battery, and numerous metal pellets that served as
                                                                                    shrapnel for amplifiTing the killing, placed
               them in two carrying cases, and explained to Majdi and lbrahim
                                                                                      how to operate them. Afterward, Ayman
               and Akram gave to Majdi, who was designated to perform
                                                                                  the suicide terror attack on bus line 1g in
               Jerusalem, new clothing, and to lbrahim, who was designated
                                                                                   to carry out the suicide terror attack at the
               Ashkelon junction, an IDF uniform, and the two were left
                                                                             to stay the night in the rented house in Abu Dis
               while Akram gave Hassan a ride to Ramallah after having
                                                                              scheduled a meeting in the c1y with Akram and
               Ayman on Wednesday, February 2g, 1996,
               On Sunday, February, 25, 1996, around 6:45 am, on the corner
                                                                                    of yafo Street and Sarey yisrael Street in
               Jerusalem, Majdi Abu warda detonated the explosive device
                                                                                      while riding on Egged bus line 1g in
               Jerusalem' As a result, Majdi was killed. lt also caused the
                                                                              death of Jonathan Barnea, of blessed memory.
               Jonathan was 20 years old at his death.
               simultaneously, around 7:30 am, next to the hitchhikers pickup
                                                                                    spot at the southbound Ashketon junction,
               lbrahim sarahna, who was wearing an IDF uniform, detonated
                                                                                    the explosive device that he carried with
               him. As a resutt, lbrahim was killed
                             Sixth Gount:
                                                           lntentional causation of death, an offense pu rsuant to Section
                                  51(A) to the security Provisions (Judea and samaria) order (No.
                                                                                                    37g), 5730-1970, and
                                  Section 14 to the Criminal Liabitity Order.
                                  Details of the offense: The above-named Defendant, while
                                                                                                    in the region, on February
                                                  25' 2002, under the circumstances that are described in the Fifth
                                                                                                                           Count,
                                                  intentionaily caused, together with others, the death of a person.
                                                  To wit' at the aforementioned time, the Defendant intentionally
                                                                                                                         caused,
                                                  by his actions that are set forth in the Fifth Count, the death
                                                                                                                    of ttzik Gaby,
                                                  of bressed memory, who was 16 years ord at his death. rtzik,
                                                                                                                       of bressed
                                                  memory, found his death as a resurt of MajdiAbu warda's
                                                                                                                    detonation of
                                                  an explosive device on Egged bus line 1g in Jerusalem.


                                      Seventh Gount:
                                                            lntentional causation   death, an         pursuant to Section
                                                  51(A) to the security provisions (Judea and samaria) order (No.
                                                                                                                    37s),
                                                  5730-1970, and section 14 to the criminar Liabirity order.
                                 Details of the offense: The above-named Defendant, while in
                                                                                                 the region, on February
                                                  25' 2002, under the circumstances that are described in the Fifth
                                                                                                                          Count,
                                                  intentionaily caused, together with others, the death of a person.
                                                  To wit, at the aforementioned time, the Defendant intentionally
                                                                                                                        caused,
                                                  by his actions that are set forth in the Fifth Count, the cteath of
                                                                                                                          Moshe
                                                  Reuven, of bressed memory, who was 1g years ord at his death.
                                                                                                                         Moshe,
                                                  of bressed memory, found his death as a resurt of MajdiAbu warda's
                                                  detonation of an exprosive device on Egged bus rine 1g in
                                                                                                                    Jerusarem.
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                   Eiqhth Count:
                                                 lntentional causation of death, an offense Pursuant to Section
                                                                                               Order (No' 378)'
                                       51(A) to the Security Provisions (Judea and Samaria)
                                      5730-lgT0,andSectionl4totheCriminalLiabilityorder.
                                                                                in the region, on February
                       Details of the offense: The above-named Defendant, while
                                       2S,2oo2,underthecircumstancesthataredescribedintheFifthCount,
                                      intentionallycaused,togetherwithothers,thedeathofaperson.
                                                                                                         caused,
                                       To wit, at the aforementioned time, the Defendant intentionally
                                       byhisactionsthataresetforthintheFifthCount,thedeathofEliya
                                       Nimoytin,ofblessedmemory,whowaslgyearsoldathisdeath.Eliya'
                                       ofblessedmemory,foundhisdeathasaresultofMajdiAbuWarda's
                                       detonationofanexplosivedeviceonEggedbuslinelsinJerusalem.


                        Ninth Count:
                                                                                    offense pursuant to section
                        Nature of the offense: lntentional causation of death, an
                                       51(A)totheSecurityProvisions(JudeaandSamaria)order(No.378)'
                                       5730-lgTo,andSectionl4totheCriminalLiabilityorder'
                                                                            while in the region, on February
                        Details of the offense: The above-named Defendant,
                                        25,2oo2,underthecircumstancesthataredescribedintheFifthCount,
                                       intentionallycaused,togetherwithothers,thedeathofaperson.
                                      Towit,attheaforementionedtime,theDefendantintentionallycaused,
                                        byhisactionsthataresetforthintheFifthCount,thedeathofSharon
                                        Chanuka, of blessed memory, who was 20 years old
                                                                                                at his death'
                                        Sharon,ofblessedmemory,foundhisdeathasaresultofMajdiAbu
                                        Warda,sdetonationofanexplosivedeviceonEggedbuslinelSin
                                        Jerusalem.


                             Ninth Gount:
                                                                                     offense Pursu ant to Section
                         Nature of the Offense: lntentional causation of death, an
                                                                                                         (No' 378)'
                                         51(A) to the Security Provisions (Judea and Samaria) Order
                                         5730-lgTo,andSectionl4totheCriminalLiabilityorder.
                                                                                 while in the region, on February
                         Details of the offense: The above-named Defendant,
                                         23,2oo2,underthecircumstancesthataredescribedintheFifthCount,
                                         intentionallycaused,togetherwithothers,thedeathofaperson'
                                                                                                           caused'
                                         To wit, at the aforementioned time, the Defendant intentionally
                                         byhisactionsthataresetforthintheFifthCount,thedeathofYiliam
                                         Weinstein, of blessed memory, who was 54 years old at
                                                                                               his death'

                                         \A/illiam,ofblessedmemory,foundhisdeathasaresultofMajdiAbu
                                         Warda'sdetonationofanexplosivedeviceonEggedbuslinelSin
                                         Jerusalem

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                          Tenth Count:
                                              lntentional causation of death, an offense pursuant to Section
                                    51(A) to the security provisions (Judea and samaria) order (No.
                                                                                                       37g),
                                    5730-1970, and section 14 to the criminar Liabirity order.
                      Details of the offense: The above-named Defendant, while in the
                                                                                        region, on February
                                    25, 2002, under the circumstances that are described in the Fifth
                                    count, intentionally caused, togetherwith others, the death of a person.
                                    To wit, at the aforementioned time, the Defendant intentionally
                                                                                                     caused,
                                    by his actions that are set forth in the Fifth count, the death of Merav
                                    Nachum, of bressed memory, who was 19 years ord at her death.
                                    Merav, of bressed memory, found her death as a resurt of Majdi
                                                                                                       Abu
                                    warda's detonation of an exprosive device on Egged bus rine 1g in
                                    Jerusalem.




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                  Eleventh Gount:
               Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                             51(A) to the security Provisions (Judea and samaria) order (No. 378),
                             5730-1970, and Section 14 to the Criminal Liability Order'
               Details of the Offense: The above-named Defendant, while in the region, on February
                              25,2002, under the circumstances that are described in the Fifth Count,
                              intentionally caused, together with others, the death of a person'
                                To wit, at the aforementioned time, the Defendant intentionally caused,
                              by his actions that are set forth in the Fifth count, the death of Gad
                              Shiloni, of blessed memory, who was 22years old at his death. Gad, of
                              blessed memory, found his death as a result of Majdi Abu warda's
                              detonation of an explosive device on Egged bus line 18 in Jerusalem.


               Twelfth Count:
               Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                             51(A) to the Security Provisions (Judea and Samarra) Order (No' 378)'
                                5730-1970, and Section 14 to the Criminal Liability Order.
               Details of the Offense: The above-named Defendant, while in the region, on February
                                25,2002, under the circumstances that are described in the Fifth Count,
                                intentionally caused, together with others, the death of a person'
                                To wit, at the aforementioned time, the Defendant intentionally caused,
                                by his actions that are set forth in the Fifth Count, the death of Gavriel
                                Kraus, of blessed memory, who was 24 years old at his death. Gavriel,
                                of blessed memory, found his death as a result of Majdi Abu warda's
                                detonation of an explosive device on Egged bus line 18 in Jerusalem.


                    Thirteenth Gount:
                Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                              51(A) to the security Provisions (Judea and samaria) order (No. 378),
                                5730-1970, and Section 14 to the Criminal Liability Order.
                Details of the Offense: The above-named Defendant, while in the region, on February
                                25,2002, under the circumstances that are described in the Fifth Count,
                                intentionally caused, together with others, the death of a person'
                                 To wit, at the aforementioned time, the Defendant intentionally caused,
                                by his actions that are set forth in the Fifth Count, the death of Anatoly
                                Kushnirov, of blessed memory, who was 36 years old at his death.
                                Anatoly, of blessed memory, found his death as a result of Majdi Abu
                                warda's detonation of an explosive device on Egged bus line 18 in
                                Jerusalem.


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                  Fourteenth Gount:
               Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                              51(A) to the Security Provisions (Judea and Samaria) Order (No. 37g),
                              5730-1970, and Section 14 to the Criminat Liability Order.
               Details of the offense: The above-named Defendant, while in the region, on
                              February 25,2002, under the circumstances that are described in the
                              Fifth Count, intentionally caused, together with others, the death of a
                              person.
                              To wit, at the aforementioned time, the Defendant intentionally caused,
                              by his actions that are set forth in the Fifth Count, the death of Jenna
                              Kushnirov, of blessed memory, who was 37 years old at her death.
                             Jenna, of blessed memory, found her death as a result of Majdi Abu
                             Warda's detonation of an explosive device on Egged bus line 1g in
                             Jerusalem.


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               Fifteenth Gount:
                                                              of death, an offense pursuant to section 51(A)
               Nature of the offense: lntentional causation
               totheSecurityProvisions(JudeaandSamaria)order(No'378),5730-1970,andSection14
               to the Criminal LiabilitY Order'
                                                                                                    25'
                                                        Defendant, while in the region' on February
                Details of the offense: The above-named
                               2002,underthecircumstancesthataredescribedintheFifthCount'
                               intentionallycaused,togetherwithothers,thedeathofaperson.
                                                                                   intentionally caused' by his
                               To wit, at the aforementioned time, the Defendant
                               actionsthataresetforthintheFifthCount,thedeathofMattiyahuEisenfeld,
                               ofblessedmemory,whowas25yearsoldathisdeath.Mattiyahu,ofblessed
                               memory,foundhisdeathasaresultofMajdiAbuWarda.sdetonationofan
                                explosive device on Egged bus line 18 in Jerusalem'


                Sixteenth Gount:
                                                                                    pursuant to Section 51(A)
               il*r" o, *" on"n"", lntentional causation of death, an offense
                totheSecurityProvisions(JudeaandSamaria)order(No.378),5730-1970,andSection14
                to the Criminal LiabilitY Order'
                                                                          while in the region, on February 25,
                 Details of the offense: The above-named Defendant,
                                2002,underthecircumstancesthataredescribedintheFifthCount'
                                intentionallycaused,togetherwithothers'thedeathofaperson'
                                                                                   intentiona|ly caused, by
                                 To wit, at the aforementioned time, the Defendant
                                 hisactionsthataresetforthintheFifthCount,thedeathofSaraDuker'of
                                 blessedmemory,whowas23yearsoldatherdeath.Sara,ofblessed
                                 memory,foundherdeathasaresultofMajdiAbuWarda'sdetonationofan
                                                                            Jerusalem'
                                 explosive device on Egged bus line 18 in


                      Seventeenth Count:
                                                               of death, an offense pursuant to Section 51(A)
                 Nature of the Offense: lntentional causation
                                                                                               and Section 14
                 to the SecuritY Provisions  (Judea and Samaria) Order (No' 378), 5730-1970'

                 to the Criminal LiabilitY Order'
                  Detailsoftheoffense:Theabove-namedDefendant,whileintheregion'onFebruary25'
                                  2002,underthecircumstancesthataredescribedintheFifthCount,
                                  intentionallycaused,togetherwithothers,thedeathofaperson'
                                                                                     intentionally caused, by
                                   To wit, at the aforementioned time, the Defendant
                                  hisactionsthataresetforthintheFifthCount,thedeathofSalineZaguri,of
                                  blessedmemory,whowas20yearsoldatherdeath.Saline,ofblessed
                                  memory,foundherdeathasaresultofMajdiAbuWarda.sdetonationofan
                                  explosive device on Egged bus line 18 in Jerusalem'




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                        Eiqhteenth Gount:
                                             lntentional causation of death, an offense pursuant
                                                                                                 to Section S1(A)
                   to the Security provisions  (Judea and Samaria) Order (No. 37g)
                                                                                      ,5730-1970, and Section 14
                   to
                                  the Criminal Liabitity Order.
                    Details of the offense: The above-named Defendant,
                                                                              whire in the region, on February 2s,
                                  2002, under the circumstances that are described
                                                                                               in the Fifth count,
                                  intentionaty caused, together with others, the
                                                                                   death of a person.
                                  To wit, at the aforementioned time, the Defendant
                                                                                            intentionally caused, by
                                  his actions that are set forth in the Fifth Count,
                                                                                       the death of Michael yirigen,
                                 of blessed memory, who was 16 years old at his death.
                                                                                                Michael, of blessed
                                 memory, found his death as a result of Majdi
                                                                                   Abu Warda's detonation of an
                                 explosive device on Egged bus line 1g in Jerusalem.



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                      Nineteenth Count:
                                                                                    pursuant to Section
                  Nature of the Offense: lntentional causation of death, an offense
                                                                             (No. 378), 5730-1970, and
                  51(A) to the security Provisions (Judea and samaria) order
                  Section 14 to
                                    the Criminal LiabilitY 0rder.
                                                                                                    February
                   Details of the offense: The above-named Defendant, while in the region, on
                                    25,2002, under the circumstances that are described in the Fifth Count,
                                    intentionally caused, together with others, the death of a person.
                                    To wit, at the aforementioned time, the Defendant intentionally caused,
                                    by his actions that are set forth in the Fifth Count, the death of Yitzhak
                                    Yachnes,ofblessedmemory,whowas54yearsoldathisdeath.
                                    Yitzhak, of blessed memory, found his death as a result of Majdi Abu
                                    warda's detonation of an explosive device on Egged bus line 18 in
                                    Jerusalem'


                       Twentieth Gount:
                                                                                          pursuant to Section
                   Nature of the Offense: lntentiona I causation of death, an offense
                                                                                              5730-1970, and
                   51(A) to the security Provisions (Judea and Samaria) order (No' 378),
                   Section 14 to
                                    the Criminal LiabilitY 0rder,
                                                                                                  on February
                   Details of the offense: The above-named Defendant, while in the region,
                                     25,2002, under the circumstances that are described in the Fifth Count,
                                     intentionally caused, together with others, the death of a person.
                                      To wit, at the aforementioned time, the Defendant intentionally caused,
                                     by his actions that are set forth in the Fifth count, the death of Boris
                                     Shenopolsky, of blessed memory, who was 55 years old at his death.
                                     Boris, of blessed memory, found his death as a result of Majdi Abu
                                     warda's detonation of an explosive device on Egged bus line 18 in
                                     Jerusalem.


                                  Twentv-first Gount:
                                                                                           pursuant to Section
                    Nature of the Offense: lntenti onal causation of death, an offense
                                                                                (No. 378), 5730-1970' and
                    51(A) to the Security Provisions (Judea and samaria) order
                    Section 14 to the Criminal Liabili$ Order.
                     Details of the Offense: The above-named Defendant, while in the region'
                                                                                                             on

                     February 25,2002, under the circumstances that are described in the Fifth
                                     count, intentionally caused, together with others, the death of a person'
                                      To wit, at the aforementioned time, the Defendant intentionally caused,
  CONFIDENTIAL                        by his actions that are set forth in the Fifth Count, the death of Peretz
                                      Gantz, of blessed memory, who was 61 years old at his death' Peretz,

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                                      of blessed memory, found his death as a result of Majdi Abu warda's
                                      detonation of an explosive device on Egged bus line 1g in Jerusalem.


                     Twentv-second Gount:
                    Nature of the Offense: lntentional causation of death, an offense pursuant to
                                                                                                         Section
                    51(A) to the security Provisions (Judea and samaria) order (No. 37g),
                                                                                                5730-1970, and
                    Section 14 to the Criminal Liabitity Order.
                     Details of the offense: The above-named Defendant, while in the region, on
                     February 25,2002, under the circumstances that are described in the Fifth
                     count, intentionally caused, together with others, the death of a person.
                     To wit, at the aforementioned time, the Defendant intentionally caused, by
                                                                                                      his actions
                                       that are set forth in the Fifth Count, the death of Svetlana Jelozniak, of
                                       blessed memory, who was 33 years ord at her death. sveflana, of
                                       blessed memory, found her death as a resurt of Majdi Abu warda's
                                       detonation of an explosive device on Egged bus line 1g in Jerusalem.

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                Twentv-third Count:
                Natureoftheoffense:lntentionalcausationofdeath,anoffensepursuanttoSection
                51(A)totheSecurityProvisions(JudeaandSamaria)order(No'378),5730-1970,and
                Section 14 to the Criminal Liability Order'
                 Detailsoftheoffense:Theabove-namedDefendant,whileintheregion,on
                 February25,2l}z,underthecircumstancesthataredescribedintheFifth
                             Count,intentionallycaused,togetherwithothers,thedeathofaperson.
                             Towit,attheaforementionedtime,theDefendantintentionallycaused,
                                   byhisactionsthataresetforthintheFifthCount,thedeathofSimeon
                                   Birkshvili,ofblessedmemory,whowas60yearsoldathisdeath.
                                   Simeon,ofblessedmemory,foundhisdeathasaresultofMajdiAbu
                                                                             on Egged bus line 18 in
                                   Warda,s detonation of an explosive device
                                    Jerusalem'


                       Twentv'fourth Gount:
                 Natureoftheoffense:lntentionalcausationofdeath,anoffensepursuanttoSection
                 51(A)totheSecurityProvisions(JudeaandSamaria)order(No.378),5730-1970,and
                 Section 14 to the CriminalLiability Order'
                   Detailsoftheoffense:Theabove-namedDefendant,whileintheregion,on
                   February25,zooz,underthecircumstancesthataredescribedintheFifth
                               Count,intentionallycaused,togetherwithothers,thedeathofaperson.
                                     Towit,attheaforementionedtime,theDefendantintentionallycaused,
                                     byhisactionsthataresetforthintheFifthCount,thedeathofYitzchak
                                     Elbaz,ofblessedmemory,whowas5Tyearsoldathisdeath.Yitzchak,
                                     ofblessedmemory,foundhisdeathasaresultofMajdiAbuWarda's
                                     detonationofanexplosivedeviceonEggedbuslinelsinJerusalem.



                                                                      of death' an offense Pursuant to Section
                   Nature of the Offense: lntentional causation
                                                                                                           and
                                                          (Judea and Samaria) O rder (No. 378), 5730-1970,
                   51(A) to the Security Provisions
                   Section 14 to the Criminal Liability Order'
                    Detailsoftheoffense:Theabove-namedDefendant,whileintheregion'on
                     February25,2oo2,underthecircumstancesthataredescribedintheFifth
                                 Gount,intentionallycaused,togetherwithothers,thedeathofaperson.
                                       Towit,attheaforementionedtime,theDefendantintentionallycaused,
                                      byhisactionsthataresetforthintheFifthCount,thedeathofomer
                                      Masudi,ofblessedmemory'whowas5gyearsoldathisdeath'Omer'
                                      ofblessedmemory,foundhisdeathasaresultofMajdiAbuWarda,s
                                                                              Egged bus line 18 in Jerusalem'
                                       detonation of an explosive device on




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                                  Twenfu-sixth Gount:
                                                  lntentional causation of
                                                                              , an offense pursuant to Section
                      51(A) to the Security provisions (Judea
                                                                 and Samaria) Order (No. 378), S73O-1 970,
                                                                                                           and
                      Section 14 to the CriminalLiability Order
                       Details of the offense: The above-named
                                                                   Defendant, whire in the region, on February
                       25, 2002, under the circumstances that
                                                                are described in the Fifth
                                      count, intentionaily caused, together with others,
                                                                                           the death of a person.
                                     To wit, at the aforementioned time, the
                                                                               Defendant intentionaily caused,
                                     by his actions that are set forth in the Fifth
                                                                                      count, the death of Aryeh
                                     Barashi, of blessed memory, who was 39 years
                                                                                         old at his death. Aryeh,
                                     of bressed memory, found his death as a resurt
                                                                                          of MajdiAbu warda,s
                                     detonation of an exprosive device on Egged
                                                                                      bus rine 1g in Jerusarem.




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    Twentv-seventh Gount:
                                                     of death, an offense pursuant to section
        Nature of the offense: lntentional causation
           51(A)totheSecurityProvisions(JudeaandSamaria)order(No.378),5730-1970,and
           Section 14 to the Griminal Liability Order'
                                                                       while in the region' on
               Details of the offense: The above-named Defendant,
               February23,zoo2,underthecircumstancesthataredescribedintheFifth
                            Count,intentionallycaused,togetherwithothers,thedeathofaperson'
                                                                         intentionally caused, by
                       To wit, at the aforementioned time, the Defendant
                          hisactionsthataresetforthintheFifthCount,thedeathofNavonShevo,of
                          blessedmemory,whowas23yearsoldathisdeath.Navon,ofblessed
                          memory,foundhisdeathasaresultofMajdiAbuWarda'sdetonationofan
                          explosive device on Egged bus line 18 in Jerusalem'


      Twentv-eiqhth Gount:
                                                                                         pursuant to Section
                                            lntentional causation of death, an offense

               51(A)totheSecurityProvisions(JudeaandSamaria)order(No.378)'5730-1970,and
               Section 14 to the Criminal Liability Order'
                                                                                  while in the region' on
                Details of the offense: The above-named Defendant,
                February25,2oo2,underthecircumstancesthataredescribedintheFifthCount,
                intentionallycaused,togetherwithothers,thedeathofaperson.Towit,atthe
                aforementionedtime,theDefendantintentionallycaused,byhisactionsthatareset
                forthintheFifthCount,thedeathofWaelomarMahmoudKwasama,ofblessed
                 memory,whowas24yearsoldathisdeath.Wael,ofblessedmemory,foundhisdeath
                                                            of an explosive device on Egged bus line
                 as a result of MajdiAbu warda's detonation
                 18 in Jerusalem'
       Twentv-ninth Count:
                                                        of death' an offense pursuant to Section
           Nature of the offense: lntentional causation
                51(A)totheSecurityProvisions(JudeaandSamaria)order(No'378),5730-1970'and
                Section 14 to the Criminal Liability Order'
                                                                        while in the region, on
                 Detai|s of the offense: The above-named Defendant,
                                                                are described in the Fifth count'
                 February 25,2002, under the circumstances that
                  intentionallycaused,togetherwithothers,thedeathofaperson.Towit,atthe
                  aforementionedtime,theDefendantintentionallycaused,byhisactionsthatareset
                  forthintheFifthCount,thedeathofChofitAyash,ofblessedmemory,whowas20
                  yearsoldatherdeath.Chofit,ofblessedmemory,foundherdeathasaresultof
                                                                             near the hitchikers pick-up spot
                  lbrahim sarahna's detonation of an explosive device
                  at the Ashkelon junction'
                 Thirtieth Gount:
                                                                                            pursuant to Section
                                               lntentional causation of death, an offense



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                  51(A) to the security provisions (Judea and
                                                                 samaria) order (No. 37g), 5730_1970, and
                  Section 14 to the CriminatLiability Order.
               Details of the offense:The above-named Defendant,
                                                                          while in the region, intentionally
                              caused the death, with others, of a person on March
                                                                                        3, 1996.
                              on wednesday morning, February 2g, 1996. the Defendant
                                                                                                   and Hassan
                              Salameh met in a mosque in Ramallah, as they
                                                                                   had agreed earlier, and the
                              latter informed the Defendant that he needs
                                                                            a suicide attacker to execute an
                              additional suicide terror attack. The Defendant
                                                                                    tord him that he knows a
                              person who answers to the name of
                                                                        Raed Abder Karim shaghnubi, an
                              operative in the rsramic Broc, who is interested
                                                                                 in carrying out a terror attack.




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               The two scheduled an additional meeting for the next day in the afiernoon in the mosque to which the
               Defendant would bring Raed. On the evening of February 28, 1996, Hassan met with Ayman and
               Akram. The three decided that bus line 18 in Jerusalem would serve as the next planned suicide terror
               attack target, and Hassan instructed the two to meet him again on Saturday night, near the hospital,
               in order to bring the suicide attacker from Ramallah in advance of his execution of the suicide terror
               attack on Sunday morning.
               On Thursday, February 29, 1996, the Defendant contacted Raed Shaghnubi and informed him that
               an operative in the lzz a-Din al-Qassam Brigades wishes to meet him regarding a military operation.
               Raed answered in the affirmative, and in the afternoon, in the mosque in Ramallah, the Defendant
               and Raed Shaghnubi met with Hassan Salameh. The Defendant left the two to discuss amongst
               themselves and returned to the college. Hassan offered to Raed to execute the suicide terror attack
               on behalf of lhelzz a-Din al-Qassam Brigades. The latter gave his consent, and the two scheduled
               to meet for a second time the following evening, Friday, next to the mosque.
               On Friday, March 1996, at the designated place and time, Hassan met with Raed and brought him to
               the safe house that served Muhi a-Din Sharif in Ramallah. There, Hassan assembled the explosive
               device in the manner that he assembled the explosive devices that are described in the Fifth Count,
               but instead of metal pellets, this time he used metal nails as shrapnel. Afterward, he placed it in the
               carrying case. The following day, on Saturday, March 2, 1996, around 7:00 pm, Raed and Hassan,
               with the case that contained the explosive device in their possession, met with Ayman and Akram
               next to the hospital in Ramallah. Hassan told the two that Raed is the suicide attacker and instructed
               them to bring him the next morning to the bus stop of bus line 18 in order that he execute the planned
               suicide terror attack. Raed, with the explosive device in tow, entered their vehicle, and the three
               traveled to Abu Dis.
               On Sunday, March 3, 1996, around 6:20 am on Yafo Street, adjacent to the central post office branch
               in Jerusalem, Raed Shaghnubi detonated the explosive device while traveling on Egged bus line 18
               in Jerusalem. As a result, Raed was killed. lt also caused the death of Yoni Levi, of blessed memory.
               Yoni was 23 years old at his death.


                                           Thirtv-first Count:
                    Nature of the Offense: lntentional causation of death, an offense pursuant to Section 51(A)to
               the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Section 14 to the
               Criminal Liability 0rder.

                       Details of the Offense: The above-named Defendant, while in the region, on March 3, 1996,
                                            under the circumstances that are described in the Thirtieth Count, intentionally
                                            caused, together with others, the death of a person.




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                                      To wit, at the aforementioned time, the Defendant intentionally caused, by his
                                      actions that are set forth in the Thirtieth Count, the death of Chaim Emedi, who
                                      was 19 years old at his death. Chaim, of blessed memory, found his death as a
                                      result of Raed Shaghnubi's detonation of an explosive device on Egged bus line
                                      18 in Jerusalem.



                                                                                                           SHATSKY-JD01132-T




                             Thirtv-second Count:
                              Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                    51(A) to the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Section
                    14 to the Criminal Liabilig Order.


                             YTheabove-namedDefendant,whileintheregion,onMarch3,
                                      1996, under the circumstances that are described in the Thirtieth Count
                                                 i.ntentionally caused, together with others, the death of a person.
                                                  To wit, at the aforementioned time, the Defendant intentionally caused,
                                                 by his actions that are set forth in the Thirtieth Count, the death of Uzi
                                                 Cohen, who was 42 years old at his death. Uzi, of blessed memory,
                                                 found his death as a result of Raed Shaghnubi's detonation of an
                                                 explosive device on Egged bus line 18 in Jerusalem.

                             Thirtv-third Gount:
                             Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                    51(A) to the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Section
                    14 to the CriminalLiability Order.
                              Details of the Offense: The above-named Defendant, while in the region, on March 3,
                                                 1996, under the circumstances that are described in the Thirtieth Count,
                                                 intentionally caused, together with others, the death of a person.
                                                  To wit, at the aforementioned time, the Defendant intentionally caused,
                                                 by his actions that are set forth in the Thirtieth Count, the death of Shem-
                                                 Iov Sheikh, who was 63 years old at his death. Shem-Tov, of blessed
                                                 memory, found his death as a result of Raed Shaghnubi's detonation of
                                                 an explosive device on Egged bus line 18 in Jerusalem.


                                              Thirtv-fourth Count:
                             Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                    51(A) to the Security Provisions (Judea and Samaria) Order (No. 37S), 5730-1970, and Section
                    14 to the Criminal Liability Order.
                                                                                                           SHATSKY-JDo1132-T



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                          Details of the Offense: The above-named Defendant, while in the region, on March
                                                                                                                        3,

                                              1g96, under the circumstances that are described in the Thirtieth Count,
                                              intentionally caused, together with others, the death of a person.
                                              To wit, at the aforementioned time, the Defendant intentionally caused,
                                              by his actions that are set forth in the Thirtieth Count, the death of
                                              Gavriel Shimeshilashvili, who was 43 years old at his death. Gavriel' of
                                              blessed memory, found his death as a result of Raed shaghnubi's
                                              detonation of an explosive device on Egged bus line 18 in Jerusalem.


                           Thirtv-fifth Gount:
                          Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                                                                                                   and section
                  51(A) to the security Provisions (Judea and samaria) order (No. 378), 5730-1970,
                  14 to the CriminalLiability Order.
                            Details of the Offense: The above-named Defendant, while in the region, on March
                                          3, 1996, under the circumstances that are described in the Thirtieth
                                              count, intentionally caused, together with others, the death of a person.
                                                To wit, at the aforementioned time, the Defendant intentionally caused,
                                                by his actions that are set forth in the Thirtieth count, the death of Maya
                                                Birkan, who was 59 years old at her death' Maya, of blessed memory'
                                                found her death as a result of Raed Shaghnubi's detonation of an
                                                explosive device on Egged bus line 18 in Jerusalem.




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                                                                                                             SAHTSKY-JD01133-T



                             Thirtv-sixth Gount:
                             Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                    51(A) to the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Section
                    14 to the Criminal Liability Order.
                             Details of the Offense: The above-named Defendant, while in the region, on March 3,
                                                 1996, under the circumstances that are described in the Thirtieth Count
                                                 intentionaily caused, together with others, the death of a person.
                                                  fo wit, at the aforementioned time, the Defendant intentionally caused,
                                                 by his actions that are set forth in the Thirtieth Count, the death of
                                                Tasfance Gidawi, who was 23 years old at her death. Tasfance, of
                                                 blessed memory, found her death as a result of Raed Shaghnubi's
                                                detonation of an explosive device on Egged bus line 18 in Jerusalem.


                            Thirtv-seventh Gount:
                             Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                   51(A) to the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Section
                   14 to the Criminal Liabitity Order.
                             Details of the Offense: The above-named Defendant, while in the region, on March 3,
                                                1996, under the circumstances that are described in the Thirtieth Count
                                                intentionaily caused, together with others, the death of a person.
                                                 fo wit, at the aforementioned time, the Defendant intentionally caused,
                                                by his actions that are set forth in the Thirtieth Count, the death of Angel
                                                Suriani, who was 45 years old at her death. Angel, of blessed memory,
                                                found her death as a result of Raed Shaghnubi's detonation of an
                                                explosive device on Egged bus line 1g in Jerusalem.


                           Thirtv-eiqhth Count:
                            Nature of the Offense: lntentional causation of death, an offense pursuant to Section
                   51(A) to the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and
                                                                                                                    Section
                   14 to the Criminal Liability Order.
                            Details of the Offense: The above-named Defendant, while in the region, on March 3,
                                               1996, under the circumstances that are described in the Thirtieth Count
                                               intentionaily caused, together with others, the death of a person.
                                                To wit, at the aforementioned time, the Defendant intentionally caused,
                                               by his actions that are set forth in the Thirtieth Count, the death of
                                               George Yunaan who was 39 years old at his death. George, of blessed
                                               memory, found his death as a result of Raed Shaghnubi's detonation of
                                               an explosive device on Egged bus line 1g in Jerusalem.




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                                                                                                            SHATSKY-JDO1 1 33-T
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                            Thirtv'ninth Gount:
                                                                                     offense pursuant to section
                           Nature of the offense: lntentional causation of death, an
                   51(A) to the security Provisions (Judea and samaria)
                                                                        order (No. 378), 5730-1970' and section
                   14 to the Criminal Liability Order.
                             Detailsoftheoffense:Theabove-namedDefendant,whileintheregion'onMarch
                                           3, 1996, under the circumstances that are described in the Thirtieth
                                           Count, intentionally caused, together with others, the death
                                                                                                          of a
                                                 person.
                                                                                                                    caused,
                                                  To wit, at the aforementioned time, the Defendant intentionally
                                                                                                                    death of
                                                  by his actions that are set forth in the Thirtieth Count, the
                                                                                                               of blessed
                                                  Naomi Zaguri, who was 66 years old at her death' Naomi'
                                                  memory,foundherdeathasaresultofRaedShaghnubi'sdetonation
                                                  of an explosive device on Egged bus line 18 in Jerusalem'




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            Fortieth Count:

            Nature of the offense: lntentional causation of death, an offense pursuant
                                                                                        to Section 51(A)
            to the security Provisions (Judea and Samaria) order (No. 37g), 5730-19
                                                                                    70, andsection 14 to
            the Criminal Liability Order.

            Details of the offense: The above-named Defendant, whire
                                                                           in the region, on March 3, Lgg6,
            under the circumstances that are described in the Thirtieth
                                                                          Count, intentionally caused,
            together with others, the death of a person.

           To wit, at the aforementioned time, the Defendant intentionally
                                                                                 caused, by his actions that
           are set forth in the Thirtieth count, the death of Raaya Daushvili,
                                                                                 who was 4L years old at
           her death' Raya, of bressed memory, found her death as a resurt
                                                                                 of Raed shaghnubi,s
           detonation of an explosive device on Egged bus line 1g in Jerusalem.

           Fortv-first Count3

           Nature of the offense: lntentional causation of death, an offense pursuant
                                                                                       to section 51(A)
           to the security Provisions (Judea and samaria) order (No. 378), 5730-19
                                                                                   70, andsection 14 to
           the Criminal Liability Order.

           Details of the offense: The above-named Defendant, while in the
                                                                              region, on March 3, 1996,
           under the circumstances that are described in the Thirtieth
                                                                       Count, intentionally caused,
           together with others, the death of a person.

           To wit, at the aforementioned time, the Defendant intentionally
                                                                                caused, by his actions that
           are set forth in the Thirtieth count, the death of Ana shengulutz,
                                                                              who was 37 years old at
           her death' Ana, of blessed memory, found her death as a resurt
                                                                             of Raed shaghnubi,s
           detonation of an explosive device on Egged bus line 1.8 in Jerusalem.

           Forw-second Count:

          Nature of the Offense: lntentional causation of death, an offense pursuant
                                                                                      to section 51(A)
          to the security Provisions (Judea and samaria) order (No. 37g), 5730-19
                                                                                  70, andsection 14 to
          the Criminal Liability Order.

          Details of the offense: The above-named Defendant, whire
                                                                       in the region, on March 3, 1996,
          under the circumstances that are described in the Thirtieth count,
                                                                              intentionally caused,
          together with others, the death of a person.

          To wit, at the aforementioned time, the Defendant intentionally
                                                                              caused, by his actions that
          are set forth in the Thirtieth count, the death of yuleria Karkiyon,
                                                                               who was 44 years old at
          her death' Yuleria, of blessed memory, found her death as
                                                                       a resurt of Raed shaghnubi,s
          detonation of an explosive device on Egged bus line l.g in Jerusalem.

          Fortv-third Count:

          Nature of the offense: lntentional causation of death, an offense pursuant
                                                                                      to section 51(A)
          to the security Provisions (Judea and samaria) order (No. 37g), 5730-19
                                                                                  70, andsection 14 to
          the Criminal Liability Order.

          Details of the offense: The above-named Defendant, whire in
                                                                           the region, on March 3, 1996,
          under the circumstances that are described in the Thirtieth
                                                                        Count, intentionally caused,
         together with others, the death of a person.
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                                                                             caused, by his actions that
          To wit, at the aforementioned time, the Defendant intentionally
                                                                               who was 34 years old at his
          are set forth in the Thirtieth Count, the death of Daniel Patkena,
                                                                   a result of Raed shaghnubi's
          death. Daniel, of blessed memory, found his death     as

          detonation of an explosive device on Egged bus    line 18  in Jerusalem'

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                  Fortv-fourth Count:
                   Nature of the offense: lntentional causation of death, an offense p(rrer rrnr
                  to Section 51(A) to the Security Provisions (Judea and Samaria) Ord SAHTSKYJD01135-T
                  378), 5730-1970, and Section 14 to the Criminat Liability Order.
                  Details of the offense: The above-named Defendant, while in the region,
                                  on March 3, 1996, under the circumstances that are
                                  described in the Thirtieth Count, intentionally caused,
                                 together with others, the death of a person.
                                  To wit, at the aforementioned time, the Defendant
                                 intentionaily caused, by his actions that are set forth in the
                                 Thirtieth Count, the death of Marion Grafan, who was 40
                                 years old at his death. Marion, of blessed memory, found his
                                 death as a result of Raed Shaghnubi's detonation of an
                                 explosive device on Egged bus line 1g in Jerusalem.


                 Fortv-fifth Count:
                  Nature of the offense: lntentional causation of death, an offense pursuant
                  to section 51(A) to the security provisions (Judea and samaria) order (No.
                  378), 5730-1970, and Section 14 to the Criminat Liabitity Order.
                  Details of the offense: The above-named Defendant, while in the region,
                                 on March 3, 1996, under the circumstances that are
                                 described in the Thirtieth Count, intentionally caused,
                                 together with others, the death of a person.
                                 To wit, at the aforementioned time, the Defendant
                                 intentionaily caused, by his actions that are set forth in the
                                Thirtieth Count, the death of Dimitro Kokorcho, who was 43
                                years old at his death. Dimitro, of blessed memory, found
                                his death as a resurt of Raed shaghnubi's detonation of an
                                explosive device on Egged bus line 1g in Jerusalem.


                 Fortv-sixth Count:
                 Nature of the offense: lntentional causation of death, an offense pursuant
                 to section 51(A) to the security provisions (Judea and samaria) order (No.
                 378), 5730-1970, and Section 14 to the Criminat Liabitity Order.
                 Details of the offense: The above-named Defendant, while in the region,
                                on March 3, 1996, under the circumstances that are
                                described in the Thirtieth Count, intentionally caused,
                                together with others, the death of a person.
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                               To wit, at the aforementioned time, the Defendant
                              intentionally caused, by his actions that are set
                                                                                forth in the
                                                                               who was 29
                              Thirtieth Count, the death of Dominique Lumke'
                              years old at his death. Dominique, of blessed memory'
                                                                              detonation
                              found his death as a result of Raed Shaghnubi's
                                                                          in Jerusalem'
                              of an explosive device on Egged bus line 18


               Fortv-seventh Count:
                                                                     an offense pursuant to
               Nature of the 9!&!g lntentional causation of death'
                                                        (Judea and Samaria) Order (No 378)'
               Section 51(A) to the Security Provisions
                                                                     Order'
               5730-1970, and Section 14 to the Criminal Liability
               DetailsoftheOffense:Theabove-namedDefendant'whileintheregion'on
                                                                               described in the
                               March 3, 1996, under the circumstances that are
                               Thirtieth Count,intentionally caused' together with others' the
                               death of a Person'
                                Towit,attheaforementionedtime,theDefendantintentionally
                                caused,byhisactionsthataresetforthintheThirtiethCount'the
                                death of Jeyefa Mirsaya' who was 39 years old
                                                                               at his death'
                                Jeyefa, of blessed memory' found his death as
                                                                               a result of Raed
                                                                                 Egged bus line
                                Shaghnubi's detonation of an explosive device on
                                18 in   Jerusalem'
                                                                                      'AHTSKY-JD'1135-T
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                                 in Ramallah, with his face masked, in order to meet with
                                                                                                   an
                                additional person, who wourd brief him about the miritary
                                                                                            operation
                                that he would be carrying out. The Defendant even gave
                                Mohammed the code word that he would use to identiff
                                                                                          the person
                                whom he was supposed to meet. Afterward, the Defendant
                                                                                                  and
                                Nabil Uwuda brought Mohammed to Ramadan,s house,
                                                                                               where
                                they photographed him wearing a green headband, which
                                symbolizes the Hamas movement, and brandishing
                                                                                            an M_16
                                assault rifle and a kalashnikov, in order to publicize
                                                                                      his picture as
                               a "shahid" after his execution of the suicide teror attack.
                               At the appointed time, Mohammed met an anonymous person
                                                                                                   in
                               the Abdel Nasser Mosque in Ramallah, but that person
                                                                                            informed
                               him that the terror attack was postponed to a later
                                                                                            occasion.
                               Mohammed notified the Defendant of the same.
                                                                                   one week rater,
                               Mohammed Kalula was arrested by IDF forces.




                                                                                         ISignature]
                                                                              Yaellsaac, Captain
                                                                              Military Prosecutor
                 Witnesses for the prosecution:
               1. Advanced staff sergeant omer Zayidna (gathers the Defendant,s
          confession)
                 z,        :"""*9?14 NabilAwawda (detainee)
                 3.        *"*o*8994
                                      l4ohammeo Qatawii lsentenceoy
                 4.        ^"0'"'"ogo22 Hassan Salamen
                                                         tseriienceol
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             [English] Palestinian            Iemblem of the Palestinian             [Arabic] Palestinian
                                                 National AuthoritYl                              AuthoritY
             Authority
             Ministry of Interior                                                  Ministry of Interior
             Department of Civil Affairs                                    Department of Civil Affairs



                                              Birth Certificate

            R"d""t"d030 2
 I.D. No.

 Name: Hatnza                                     Fatheros Name: Muhammad

 Grandfather's Name: AtiYa                        FamilyName:AbuWardaFather'sNationality:Palestinian

 Motherrs Name: Noura                             Mother's Family: Al-Ja'bari Mother's Nationality: Palestinian

 Gender: Male                                     Religion: Muslim
                    *"0""*.2003
 Date of Birth:                   Redacted           , Two-thousand and three

 Place of Birth: Hebron                           Hospital: Al-Ahli - Hebron

 Address: Al-Fawar 0-0-

                                                                    in the birth fiIe ofthe year 2003
 The details about the above-mentioned birth have been registered

  by the Department of Civil Affairs in: @1    on: 04'29'2003


                                                                                        Sisnature
            lRound stamP: Palestinian                                                Employee Signature
        Authority - Department of Civil
                    Affairsl                                                      [handw r itt en s i gnat ur e]

        [Rectangle stamp: Stamp of the
                  DePartmentl




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      CONFIDENTIAL                                                       SHATSKY-JDo1138-T
              Date: 16 Kistev 5765                                 Case No.: 1962102
                     November 29,2004


                                        The Military Gourt Judea
      Before Presiding Judge: Lt. ColonelZvi Lekach
             Judge: Gaptain Amir Dahan
             Judge: Captain Shimon Leybo
     The Military Prosecution
     (by Lieutenant Yotam Har Zion)

                                        v.
     Defendant Mohammad Atiya Mahmoud Abu warda rD No. Redacted535g
                                                                    / The lsraer
     Prison Service - Present
     (by counsel, Attorney Anwar Abu omer and Attorney Basul - present)
     Registrar: Sergeant Rozi lvgi
     lnterpreter: Sergeant Karim Salama


     The Presiding Judge opens the session and identifies the Defendant.


                                     The cource of the proceedino
     Prosecution: I request to amend the indictment.
     Defense: I request that the Defendant be allowed to retract his denial.


                                             Decision
     We allow the Defendant to retract his denial, and we allow the prosecution
                                                                                       to amend the
     indictment.
     lssued and announced this day, the 29th of November, 2004, in public
                                                                                         and in the
     presence of the parties.


    Judge                  Presiding Judge                       Judge

    Defense: I have read the amended indictment to my client. I explained
                                                                               to him its content. He
    understood it and admits to what is attributed to him.
    Defendant: I confirm my defense attorney's statement and admit to the
                                                                               amended indictment.
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                                                                         SHATSKY-JD01139-T
    CONFIDENTIAL
                                                                   Case No.: 1962102
             Date: 16 Kislev 5765
                    November 29,2004


                                              Adiudication
                                                                  Defendant guilty of the crimes that
     on the basis of his admission to the charge, we find the
     are attributed to him in the amended indictment'
                                                                        2004, in public and in the
     lssued and announced this day, the 29th of November,
     presence of the Parties.


                                    Presiding Judge                                 Judge
     Judge

                                                         sheet. Accepted and marked P/4'
     Military Prosecutor: I submit the criminal record
     Defense: There is no evidence for the sentence'
                                                          mass murderer stands today before the
     The Public Prosecutor's delivers his summations: A
                                                                 in recent years' has a defendant
     court. Not on every occasion and not on many occasions
                                                      the many acts of terror' despite the fact that
     such as this one stood before the court. Despite
                                                             it on more that one occasion lowly
     during the last four years, the court has seen before
      murderersanddefendantswhowereconvictedforseriousterrorattacks'nevertheless,the
                                                                      before us is responsible for the
      Defendant before us is different from them. The Defendant
      murderof45people.lntheterrorattacksthatoccurredinlgg6,asindicatedintheindictment'
                                                          During the course of that week' there were
      the time lapse between the attacks was a week.
      three terror attacks. The Defendant before        us was in contact with the operatives who
                                                                      Deif' The Defendant before us is
      perpetrated these attacks, Hasan salameh and Mohammed
                                                           aftenruard were armed with explosive
      the person who recruited the suicide attackers, who
                                                  people. The Defendant was fully aware of the
      devices and caused the death of dozens of
                                                                          aware of their plan to
      intent behindthe recruitment of these people. The Defendant was
                                                                  partner to the plan and its performance'
      perpetrate suicide attacks. lt is clear that he was a full
                                                                 the brevity of the time elapsed between
      The murderous acts, to the best of our memory, and
                                                       people but also delivered a heavy moral blow to
      them not only caused the death of dozens of
       the lsraeli public. lt was the days before    the holiday of Purim, and the Defendant and his
                                                              the joy of the holiday and caused shock
       friends who perpetrated the terror attacks terminated
                                                                was the lot of the 45 families who lost
       and sadness, but it is clear that the greatest sadness
       those dear to them as a result of the Defendant's
                                                          actions' These 45 families lost in an instant'
                                                            their sons, daughters' brothers' we have
        at the moment that the explosive device detonated,
       stood on more than one occasion before        the court and remarked on the severity of the
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      murderous acts' we noted that man is created in the
                                                                image, and that every person is a world
      and all of its contents, and that the cutting down of
                                                                 one life in lsrael is tantamount to the
      destruction of the entire world. Every such life that
                                                              the Defendant through his actions caused
      to be murdered destroyed an entire family. The world of
                                                             these families is not what is was
      before those terror attacks. The Defendant demonstrated
                                                              a lack of compassion, a lack of
      respect for mankind as such, and intense hatred for
                                                            lsraelis as such in his actions. lt is difficult
      to say what the appropriate punishment for the Defendant
                                                                    would have been had we been in a
      society stripped of legal rules and had we not been
                                                              limited in the sentence that could have
      been imposed on him. The sentence that is available
                                                                to us is life imprisonment for each life
     that was taken, and it is this sentence that the Prosecution
                                                                   seeks for each count of terror attack
     that the Defendant perpetrated against dozens of injured.
                                                                   The prosecution will seek to impose
     life imprisonment, such that ultimately, the Military Prosecution
                                                                             will seek to impose 4g life
     sentences on the Defendant to run cumulatively. The
                                                               Prosecution will leave the sentence for
     the other acts to the discretion of the Court.



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                                                                              SHATSKY-JDO114O-T
    CONFIDENTIAL
            Date: 16 Kislev 5765                                 Case No.: 1962102

                   November 29,2004


                                      The Military Gourt Judea
     Before Presiding Judge: Lt. GolonelZvi Lekach
            Judge: GaPtain Amir Dahan
            Judge: GaPtain Shimon LeYbo
     The Military Prosecution
     (by Lieutenant Yotam Har Zion)
                                                    v.
                                                       Redacted5359 / The lsrael
     Defendant Mohammad Atiya Mahmoud Abu warda lD No.
     Prison Service
     (by counsel, Attorney Anwar Abu Omar and Attorney Basul)


                                                 Sentence
                                                                               indictment' one of the
     The Defendant has been convicted pursuant to his admission to the
                                                                              the state of lsrael' The
     most severe that was ever submitted in the courts of this region and
                                                                     part that the Defendant and his
     indictment, which includes 45 different counts, describes the
                                                                             caused the deaths of 45
     activities played in carrying out the suicide attacks that cumulatively
     people.
                                                                                   with the preplanning
     The Defendant is the one who recruited suicide attackers in accordance
                                                                         the Defendant recruited
     of Hasan Salameh and Mohammed Deif. The suicide attackers that
                                                                          pick-up spot in Ashkelon and
     at their request set out on February 25, 1996, one to a hitchikers
                                                                                   who got on the bus
     the other got on bus line number 18 in Jerusalem. The suicide attacker
                                                               people and injury to many others. The
     detonated himself and caused the death of 24 innocent
                                                                    pick-up spot in Ashkelon caused
      suicide attacker who blew himself up next to the hitchikers
                                                                                he did not succeed in
      the death of one woman and injury to 36 people. very fortunately,
      causing the death of additional victims.
                                                                                   suicide attacker' The
      After the doubte terrorist attack, the Defendant sought to recruit another
      Defendant did so, and on March 3, 1996, that terrorist got on bus
                                                                                line 18 in Jerusalem'
                                                                      to eight others'
      detonated himself, and caused the death of 20 people and injury
                                                                                 the Defendant for
      The Military Prosecution requested that we impose life imprisonment on
                                                                                             intentional
      each one of those murdered as well as life imprisonment for each attempted
      causingofdeath,meaningatotalof48termsoflifeimprisonment.
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     We must state that the Defendant not only did not express remorse for his actions,
                                                                                                but he
     even argued that his actions are not murderous acts but "legitimate acts of defiance."
     Actions in which the Defendant was a partner were carried out based on an orderly,
                                                                                           murderous
     doctrine that he took pains to explain with brazenness before this panel. The
                                                                                        distortion that
     lies at the foundation of the matter is so great that our words are insufficient
                                                                                        to express the
     horror, repugnance, and abomination that we feeltoward the Defendant and
                                                                                    his dogma.




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     CONFIDENTIAL                                                     SHATSKY-JDO114O.T
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                                                                                    SHATSKY-JDo1141-T
    CONFIDENTIAL
                                                                             Case No.: 1962102
            Date: 16 Kislev 5765
                       November 29,2004
                                                                                                     behileen
                                                        for murderous acts that do not distinguish
    There is no and cannot be any justification
                                                                                                act
                                                was their being lsraelis' This was a deliberate
    women, children, and men whose only sin
    thatwaspremeditated,anditsexclusiveobjectivewasthemassmurderofinnocents.
                                                                                                      one of
                                                            cutting down of 45 lives' each and every
    The human being within us is horrified at the
                                                                                                        and
                                                           were cut down with the stroke of a perverted
     whom had dreams, desires, aspirations that
                                                                                                    for
                                                      and his friends' in one fell swoop' lt is not
     intentional act, originating with the Defendant
                                                                                                      if
                                                           ',He who causes the loss of one life is as
     naught that our sources say (Tractate Sanhedrin):
                                                         his blood and also the blood of his offspring
     he caused the loss of an entire world," because
      are morally placed on the head of the murderer'
                                            justice for those who were murdered and their families'
      At the end of the day, we did not do
     Thelawthatwehavethepowertocarryout,wewillcarryout.
     We issue the following sentences to the Defendant:
                                                                        yearsold  at his death'
         1. Life imprisonment for the murder of Yonatan Barnea' 20
                                             of ltzik Gabi' 16 years old at his death'
         2. Life imprisonment for the murder
                                                                  19 years  old at his death'
         3. Life imprisonment for the murder of Moshe Reuven'
          4.LifeimprisonmentforthemurderofEliyaNimoytin,lgyearsoldathisdeath.
                                                                          years old at his death'
          5. Life imprisonment for the murder of Sharone Chanuka' 20
          6.LifeimprisonmentforthemurderofWlliam(Yitzchak)Weinstein,s4yearsoldathisdeath.
                                                                                 at her death'
          7. Life imprisonment for the murder of Merav Nahum' 19 years old
                                                                               his death'
          8. Life imprisonment for the murder of Gad Shiloni' 22 years old at
                                                                 24 years  old  at his death'
          9. Life imprisonment for the murder of Gavriel Krauss'
          l0.LifeimprisonmentforthemurderofAnatolyKoshnirov,36yearsoldathisdeath.
                                                           Koshnirov ' 37 years old at her death'
          11. Life imprisonment for the murder of Jenna
          l2.LifeimprisonmentforthemurderofMatityahuEisenfeld'25yearsoldathisdeath'
                                                            Duker ' 23 years old at her death'
           13. Life imprisonment for the murder of Sarah
           14. Life imprisonment for the murder   of Celine Zaguri 20 years old at her death'
                                                                   '
                                                             Yerigin' 16 years old at his death'
           15. Life imprisonment for the murder of Michael
           16. LifeimprisonmentforthemurderofYitzchakYachnes'54yearsoldathisdeath'
                                                          shrenopolsky, 55 years old at his death'
            17. Lileimprisonment for the murder of Boris
           18. Life imprisonment for the murder   of Peretz Gantz' 61 years old at his death'

           lg.LifeimprisonmentforthemurderofSvetalanaGelezniak,33yearsoldatherdeath.
           20.LifeimprisonmentforthemurderofSimeonBirekshvili,60yearsoldathisdeath'
                                                                                       his death'
           21   . Lileimprisonment for the murder of Yitzchak Elbaz' 57 years old at
                                                                                   his death'
           22. Lileimprisonment for the    murder of Amar Massudi' 59 years old at
                                                                  39 years old at his death'
           23. Life imprisonment for the murder of Aryeh Barashi'
                                                         Shevo'   23 years old at his death'
           24. Lileimprisonment for the murder of Navon
           25.Lifeimpr|sonmentforthemurderofWaalomerMahmoudQawasmeh,24yea.€oldathisdeath.
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         26' Life imprisonment for the murder of yoni Levi, 23 years
                                                                       ord at his death.
        27   ' Lite imprisonment for the murder of choflt Ayish, 20 years ord at her death.
        28. Life imprisonment for the murder of chaim Emedi,
                                                             1g years ord at his death.
        29. Life imprisonment for the murder of Uzi cohen, years
                                                               42       ord at his clealh.
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    CONFIDENTIAL                                                                            SHATSKY-JD01142.7

              Date: 16 Kislev 5765                                            Case No.: 1962102

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        30. Life imprisonment for the murder of shem Tov Sheikh, 63 years old at his death
                                                                                             death'
        31. Life imprisonment for the murder of Gavriel shimeshyashvili, 43 years old at his
        32. Life imprisonment for the murder of Maya Birkan, 59 years old at her death'
        33. Life imprisonment for the murder of Tespance Gidawi, 23 years old at her death'
        34. Life imprisonment for the murder of Angel Suriani, 45 years old at her death.
        35.LifeimprisonmentforthemurderofGeorgeYunaan,39yearsoldathisdeath.
        36. Life imprisonment for the murder of Naomi zaguri ,66 years old at her death.
        37. Life imprisonment for the murder of Raaya Daushvili, 41 years old at her death.
        38. Life imprisonment for the murder of Ana shengulutz, 37 years old at her death.
        39' Life imprisonment for the murder of Yuleria Karkiyon, 44 years old at her death.
        40.LifeimprisonmentforthemurderofDanielPetkaneh,34yearsoldathisdeath'
        41   . Life imprisonment for the murder of Marion Grafan, 40 years old at his death.
         42. Liteimprisonment fOr the murder of Dimitri Kokorchu, 43 years old at his death'
        43.LifeimprisonmentforthemurderofDominiqueLumke,2gyearsoldathisdeath'
         44. Lite imprisonment for the murder of Jiffa Marasya, 39 years old at his death.
        45. Life imprisonment for the murder of lmri Ambrose, 52 years old at his death'
                                                                                                pick-up spot in Ashkelon'
        46. Life imprisonment for the thirty-six injured in the terror attack at the hitchikers
                                                                                                          on February 25'
         47. Lile imprisonment for the fifty injured in the terror attack on bus line 18 that occurred
               1996.
                                                                                                        on March 3' 1996'
        48. Life imprisonment for the eight injured in the terror attack on bus line 18 that occurred

                                                                                                        in succession'
     All of the sentences, a total of 48 terms of life imprisonment, will run cumulatively

     The right to appeal runs for 30 days from today'
                                                                                                   public and in the
     lssued and announced this day, the 29th of November, 2004, in
     presence of the parties.


                                           Presiding Judge                                                   Judge
     Judge




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      CONFIDENTIAL                                                                      SHATSKY-JD01142-T
Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 74 of 126




          Translator's
          Certifi cation
Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 75 of 126




    TINITED STATES DISTRICT COTIRT
    SOUTHERN DISTRICT OF NEW YORK
    SHABTAI SCOTT SHATSKY, e/a/',

                                                                 Case No. 18-cv-12355 (MKu
                                       Plaintiffs,

    V


    THE PALESTINE LIBERATION
    ORGANIZATION ANd THE PALESTINIAN
    AUTHORITY,

                                     Defendants.




                                                                       1746' as follows:
               I, Yaniv Berman, declare pursuant to 28 U'S'C' $

               l.lamaprofessionaltranslatorwithanM.A'degreeinMiddleEastemstudiesfrom

     the Hebrew University of Jerusalem (Israel).
                                                          I read Arabic, Hebrew, and English fluently' and I

     amqualifiedtotranslatefromArabicintoEnglishandfromHebrewintoEnglish.

               2.Icertiffthattheattacheddocumentsaretfueandaccuratetranslationsofthe
                                                                      Bates numbers' The translations are
        Arabic and/or Hebrew originals with the corresponding
                                                              the original documents, with the addition of a
                                                                                                               '1
        labelled with Bates numbers that correspond to

        T" at the end to indicate that it is a translation'

                3.Totheextentthatsomeoftheinformationintheoriginaldocumentswasnot
                                                                 into English to the best of my ability' Such
        clearly legible, I have translated such information

        instances are marked with an asterisk ("[*]")'
Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 76 of 126




             I declare under penalty of perjury under the laws of
                                                                    the united States of America that the

     foregoing is true and correct.


     Dated: JuIy 26,2021
                                                                       Yaniv Berman




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Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 77 of 126




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                     Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 78 of 126


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      Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 79 of 126


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   CICR                 ThiscertificateisvalidonlyiftheEnglishandArabicpartsmatcheachother

                                                                                                                  of
         According to the information received from the lsraeliAuthorities, the lnternationalCommittee
         the Red Cross certifies that:                                                          1*
         Mr          MOHAMMAD ATIEH MAHMOUD ABU.WARDEH                                                2,:l
         From :       HEBRON                                                     lD NO: RedactedS3s-g


         Was arrested by the lsraeliAuthorities on (dd / mm / yyyy) :          04'11'2002


         He is to date :          Sentenced

         Length of sentence / administrative period : life sentence

         He/She was released on (dd/mm/yyyy)

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          lhe Red Cross cedifies thal

          Mr:       MOHAMMAD A'TIEH MAHMOUD
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        CICR                        This certificate is valid only if the English and Arabic parts match each other


               According to the infornration received from the lsraeli Authorities, the lnternaiional Committee of

               the Red Cross certifies that

                           MOHAMMAD ATIEH MAHMOUD ABU-WARDEH

               From          HEBRON                                                                          lD NO: RedactedS3s-g


               Was arrested by the lsraeli Authorities on (dd / mm I yyyy): 04.11.2A02

               He is to date    :            Sentenced

               Length of sentence I administrative period : life sentence

               He/She was released on (dd/mm/yyyy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXI'



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            According to the information received
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            the Red Cross certifies that


            Mr:       MOHAMMAD ATIEH MAHMOUD
                                                                                 ABU-WARDEH
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            From        HEBRON
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           Was arrested by the lsraeliAuthorities
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           He is to date                   Sentenced
           Length of sentence I administrative period
                                                                        : life sentence
           He/She was released on (ddlmm/yyyy)



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          According to the information received from the lsraeliAuthoriiies, ihe lnternational Committee of

          the Red Cross certifies that :


          MT: MOHAMMAD ATIEH MAHMOUD ABU.WARDEH
          From : HEBRON                                                                            Redacteds3s-g
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          He is to date     :            Sentenced

          Length of sentence / administrative period : life sentence

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                                              ,'fu N1n 1l oflpl 'oll))ltlnn nllfNnnn
                  lgn by v,)on) oluun nN
                                                          l'llil nlyv/l '1)vnl oFn nlnl:)
                  nrt! '.l'lnp lnrlxl gl)N EIt lgn YrlD)
                                                                   oNnill 'n)bnnt: or)tnn
                  -tfNl nrf l1)v; r) b1)')y llllyl ,tr13y ol:rv)                  r9:'
                                                r1 grrlg! ..l$'tu lvn '11r'!y tgprn)v
                   trllfNnn rj1ylgD 1)u 'ln)N                                                 '9)1

                   181i7u1l1utN1$r!l}r!h))lut)nnnv'1'\t"11b)l)f'ltlllfiEly'l))!nyllu)
                                                    IlYJN'l tr]}: Syton
                                                                        !X 11'1Xt 1tgi7l'tN nnl!l.|
                   y)1ln lln "lnN, ,15.?,96
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                    o,,,nnon E!y)'bn
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                                                     t1',)D nl'{ bv/N)n lrltn '21'2',96 ',tvjrlln
                   n)nil11 DrilNl?l'{l n]-]l-l:N
                                                  lttllnl                  1)9':t nnxlu 1un ov vrln)
                    lvn ,nl1rn!l nntv,,) onlx              'n)tNn1:
                                                                           o11l uu)!! r3 prrlg)
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                        .n!!xnr: 1l9nf Dl)lnsn nltln 1nN9 'v'lur                                    g\'t
                                                                   l!11111 D'lPDl '23'2'96 'rY;tg
                    nr:) o)r)tnl ol)vrl 1gn ur)! ,trtIy\rnn
                                                                      '!'1-N tn\t) nN uJh)u'v llnbnn
                    nN lvn l)u :lyn ntvt:: 'n)lt'ttllt T19r
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                     l0'!ill l.]nl)v J3 ,\f) "'|Dln t"P       l:lnn xr51n '\Dln tntn nl-ltttlJ
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                                                        1l',)n                                    T t"p
                     riTrnf ]"tlJn Nlnul ornil1fNl
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                                                                  1)ul ,nrfnn r)yuh ont n*tyJ)n
                     Trn !))n11 n!/u, JlnD ,.11 ornipNn
                                                               or?tnn v1r3 tttN) '111 lDllun
                     lnrrN: nv'l)v;n 1v/)9 sul 'n))xnl:                                          'llpvJ


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                ,En1\f])!,nul])ulnn}i\,)]1n]']lN].}onr)])l]]b]i7h9.|y')nYJbl]N]
                                                                .911'llXl 'llruuJ r1l)
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                lrrp I0-D n?lnn ruun t)u nN nnN,g 1un l)i7nn Z4'2'?6             'n'lnl:'
                Jln]Onl)il,ltilnfir:ln)uDlf'lutlv/)u'rlf,lh)nEh'1111'1)'\ilbl7lu'1'N'T
                                                                                )r/tn ))YJ
                                                                 r1')nb ttSpnt nNtui
                !'1pr1 l)D 1nN9 .tr))yoi]! 1l): btnNl:Nbt
                te tp ut:tutNi nlllNnfin !11)1! nH y:l) lyl)ur ,l'I')D' olf,Nl lF))N
                ntllHnnn yl)t! nN v:r) ryttvt ,urilN1f,Nll o1vJ.tn 811)3 'tr))Y/t-l):l
                -tfNf,11funn':rn)r)nnxtr))11n'l:Dttlunl,)rrn!r1F''tl)PVJNflDl:1
                oy'1)y; rlv/t)5 !]pu,'tlc! xb,b'lfN !", nblxnr)
                                                                y91fi lgnvr 1'lyt.'0)T
                                                                ,29,1.96 )'tytf,1 Qllf lb))N'l o']lN

                gNrv/r rtg 'nt1))! tlt tlnll y1p1116145 il!,U,llhtr ,25'2'96,llYrNltrtl

                b)tlu'tN ltn: yv)u; nyl ilrlnn lyull nR fi11'l'13N xr)n \s19 'o)'vJ1'1)3
                                                                                 l8 )i7 llN
                ,),,1 y)1: 1n:l 5u lnllx bl))l )1r)1. )1n) l:h nN!lnl 'etlv/tltr
                                                                    ,lhlhl20lf n)n]h)lr
                1tt',:: 'ltlpurx nnlll fi'lNtsnlun nrlpl ,'tpt::
                                                                 7:30 nyv/! lttrv
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                n)tnn lyun nN ,)"ils r'flca u13b h1i1u' ,nlnHly tr)nNlf,N \!\! rtrlll
                                                          .tr'ilNllN )1n) JID nN!ltll 'l'ly NU)U'
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                -),,e n 1,'l''gu                .ttt,Y_ll;:;:i:                                             r   A1tl,llJl-l-rlt]-D

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                 olv1Nnu.]!3n1.lNlnDnn)f,lv)],t5.2,02blrll..l.llN:1n]rnf,,),,]nDuN)il
                                    .g'tx )U )n\ht b)-lhN b}t lnrf nlllll D-l) ,1v/1Dnn
                 plst trr-tlnN1 Pgrlb3 n)111f tru'N)n url )t!) llnF{il lylD: '1)))h1
                                                                                         glvrlNh
                 fiN NJn )"t i7't!rN ,ln]nl 16 lf 'r"l )ft l')l\N )vt lfl1D9 ,rpt131'1;1
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                 18 1i7 1}N Ul]l$'tl-(] il]'l1.'l]N '.J,),J
                                                                                          ,o''lv,tllt:

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                 .),,ulln ,llhurt n'lN'l'lit tx'n ub {N}51 rp t!) ilTly ,n)l'l)l       nDrll iilllll'[hlnh
                                                                                 '1lln
                                                  .nrr:v) n|1nN t!): t:t:1:, l4 'D + 1970
                 tr,rVJ)Nn Ut91 h,llNlnnn nlltu)l ,25,2,02 Qltl ,1)lNl lnltilf ,r"Jil
                                                                                      BUNIi'l ;.n1tll|h t\'$
                                        ,otx 9u lntD) o'1nN by 1n)t n)Ilf,t 01) ,)urhnn
                 u'tlf orl'u)Nn lrurlrn3 n)1))l BuiN)n orr )ty) ttnNil ly'lbr ,])))nr
                 nN Nin ),,1 nvb .thlb;l l9 lf, ,)"\ lf 'tNl nu,n ,\, 1r'lh) ,tvlr1315 b'|v/rxn
                 l8 li7 1)N 9lllulNl i1111-llN 1'lr)n t'ry ntlnn 'ty\rn \llttn ngs)rl ln\n
                                                                                          ,b!)\r11''f




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                                ?F,irra-ia-r    . r-t I                             H I HH.{, 11   luH r l{ 39 nu t l,luu    : r'f,l/S.rWf*a-5f    a
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               -),,vJnn ,l'\huu nlN'lln
                                             '1111   ll) (N)51 'P 15) nl'fy In)1l)f
                                                              ll'lllnN ))?3 1?11 li) 'o
                                                                                    l4 + 1970
                                                        ,i'tllf,y)
                                                                         bltS '11\Nf 1np;1x ')rr)il
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               olvJrNil u1!1 rllxlnnn
                                             n1119)l 'e5'z'0?
                                                                       tr! lnu n)l1ll Fl) ')Y/1nnn
                                             o1N )u lnlD) 011nN
                                                           Bt,l'{)n 01) )1y) 1lnNil
                                                                                     lylbl '11'1nr
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               u19l 0111hNn                                                            Elvr)Ni'l
                                           .l' ;;t l1u)ll31l nl'?N ?ltJ lrln) ')ul)Dnn
               NJlt !"'l                                               \1Jr9D t-'l||,;Irl:
                         i'lr))N '1n1h3
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                .,P 1'N tr.,l\'J,,N'n11',-'lfN'lr)lJ
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                                               lvb                 (t{)51 'g )s) illrfy }n)11)l
                 -!,,unfl iltngtl nln11n 1l'11                                    r"? -1113 1!) l4'9 + 1970
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                 o1vlNn u10r     r11N\n".lrm:; *l1;l';:il1]:1 il';'#:
                                                                                         ltniln rirtnj 'l)lrnJ
                                                                                                                     :'

                                                               DYJI'{li'l orr !ry)
                  trltl trrllnNn u"n''n'\\lr                         nf,'lln 111v/ )tr' )rilh) ')v'')nnn
                                                                                                           Flu)Nil
                  nR iltn ),,t ltrv
                                    ,rntn: z0 lr ,'"1
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                                               tg) (N)51 'P r!9 n-lrfy tn)]l)f,
                   .!rrg1n ,l\nuu n]N'lln t:r:
                                                        nltinx'!): t:'t: ub 14 '9 + 1?70
                                                              .nl1flt
                                                                                 lnl)nl ')")n LtvJN)n lfliritlil-9-]9
                                u19l n1'1N1hDn   n'l310)1 re5',z'01 9111 ',1]\N]
                   olvrtt'(i't
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                                                 OtN y\t, \nlh) Ol'lnN
                                                           trv,lN)il o'u ))!' 1lnNn
                                                                                       lylnl- ''lJr1il1
                   u19: tr)1)bNn ltllynf n)111r                               tnln) 'rulrnnn olvl)Nn
                               .1ntB: 54         yo't'r1 {pnlrl ENt}'tl
                   oNrb!r                1a ':"t                          'u lnln nN Nlb )"t
                                  r1'1[  r,y  n!:nl    ]yub     \\J19]J nxlln)
                    il11l-ltx                                                     .bt)vJ11't3 ls'lP 1)N VillulNl


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                                                                   1l) (N)51 'v r9) n1)fl' 'n)l'tf,l nlltl
                                                                                                               nhrll iitltlyilX!U'
                     -?,,y/ni-'l ,Jlnv)f n]H1]i1 1311
                                                                   ,n'111),) n\)lnN
                                                                                        rlb:'tltt llt l4 '9 + lt70
                     olvl)NnulDfn11l.{"lnrlnnl:''g)1',25',!'azgl'tf,'1)tNf1y11t13')")i}ouil)ntitlttyilgtq
                                                D1il rtl lntnb ErtnN oy
                                                                               lnr: n)l]]f, b'1t '!v)t3nn
                                                                                           'ly'lDl
                                                          ovN)n orr )ty) llnNn
                     Dl$3 o"llDNn lruylr: n)llll                                                    ']))ln.l
                                                              b\nl         )\'  in\n)             QlV/1Nn
                     nN!n ),,\ tltn ,ni\,13 tt n: ,)'it
                                                                   f,'1)11             ')\'tDnn
                                                  lr')n   )i'y n):nn    l!u'l  \1J19ll nN5ln?    nnlp nN
                     ti? 1lil vl]1ulxf, irl1l'l1R
                                                                                             .o))vrl]tf l8


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  coN                                                                                                  tslHHd 3
                                       r fi.:tr:?;tfi     i rl I
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                                                              )gb n-ltfy Inllllf nttn ntrrrl rntuln4i'U
               -,l,vJnh,lln\r)l r]lNlln 1111 ]!) (N)51 'tr
                                                  .n-utyt ntr-ln1 trgl 111x lv) 14 'u + 1970

               trrvJ)Hnur5:rllNrnnilnlr:p)l,z5.z,0zD1u,'!rlNl11p11,)")nouNtilinlrtilflt\''!0
                                   o"rN )vJ ln'ln) DtlnN o)l thu nJl131
                                                                        trll ,)Urnnn
                                    nl\113 trv/N)n trl) ,)y) 1lnNn
                                                                       ly]D: ''l))tnt
               utgt O'.l,,nNn ll1,!nl
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               ,Intn nil HJD )"1 1) ,lnlnl zz lr ,'"\ t)l))vJ 1l bv'r tltnb ''u)nni
                                                    1'1')ll )"! il)rnn Uun \ll)gh nHJlnl
               18 li, '1)N 9\11g\Nl n1ll-tlN
                                                                                       trl)vJ'l'1)f,


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                                                      (R)51 '9 )0' nllfy )nlllll nlln'fi0)'1)
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                -),,vrnn ,'llnutt nlill1n t:'t: lr5
                                              .nlrillb r1)1nN t)rl111111' l4 'u +
                                                                                              lW0
                                                          trl)f rlllHx lnl)nl ')'t)il buxln lfl?t!-fl-W'
                otv/)Nn ul!f, nllNlnttn h)ftD)f 125'2'02
                                       .orx )tl tntn! orlnN by th)3 il)l]:f,
                                                                               o"1l
                                                                                     'rgthnn
                                                             tr1) )}!b llnNi'l 1ylnl 'l)rlnl
                u1!f, Q,'.'\lnNn \t{/yDf, n)111x buN)n
                                                     g]H"li,5Nl1:) !s' lntnS ,'v)nnn o\u)N'1
                N:n !,,t )Nrr:l .)n1n1 z4 ]f, l}l'\
                                             1'lr)ll l"y nlfnn lluh \\!tsE nNtmf, ln\n nN
                ti7 t)N 9'lllv]Nl n'1'11-11N
                                                                                  o))tJll)] 1E

                                                                                                       I1rgry'nv,,llt, \t1t
                                                                                                             :f'llt1l,fl l1'lilD
                                                         (Nl51 'u tlt il1uy 'nlllf,l nllb nn1'11
                 ')"vnn ,]lnglf, nlN']'ln 1111 r!)
                                                    ,il-r!5),b hllnN
                                                                      )9!31:111vy 14 rg 1 lg70
                                                                           ln)tnl r'")n ovJN)n :nttllril
                                                                                                         t91S
                                           rll)rrll           FFI
                 E\y/)Nn u'ltl nllNlrlDn             ,25'z'02     ',"ltlNf
                                         'B1N       tntn) trrlnH Dy]nu nl1'lll Dl) ')utnnn
                                  ilu/)'nf n)1\J1 trv','N)il b1r t)y'
                                               'U                        "llDNn 1y)n3        i.l"1
                 oaol 6r11nNi1                                                          '1)f
                                                            UtuJN :v'/ ltllll)              b'|v/)Nn
                 ),,t r!'tu)x .1nlnl 36 lf ,)"1 l''l!)v',li'                  'tY','hnn
                                      r1')t1 }"y n):nn      llrun Yis)sn nNllni  lnlF nil NJh
                 vlttulNl n]'l1'llil
                                                                           ,trt)ul'ltl l8 li? 1)H

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                  .),,vni,'llnu)f,n'lNl]n11111!!(N)51'vt!)n1rfy'n)11)lnllnnhtilltlttrynnlntd
                                                     ,nllv) n111nN t))l 1111 1v5 14
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                                                                              1n])nl r),,)il oYJNln iilu.{l
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                                                       ,25'2,01 tr}r ,lltNf
                  otvjrNn \1151 nlli{,lnnn ntf,'g):
                                             orN tv/ tntn) nrlhx oy 1n1:
                                                                           nll1)l olt ,tvlrnnn
                                                       oYJN)n o'1) Ityb llhNil
                                                                                lylDtr
                   ulgt B1ltnN;1 1r\)!l3l nl1l)f,                                              '1))rn1

                               n)') ,nnlbl 37 nr ,)"1 11]llYJl?
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                   nNrrr )"t
                   1il r)N glllulNl illl'l-'llN
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      -),,v.;nn,ltnult ntNltn 1113 rxb (Nlst'p rlb nrrly,n)llf,f ]1'lln np]1)
                                      ,nrrrY) rlilnN r!): ur: 1l' 14 'v + I97o
      o.|v/1Nn Ullt nllN]Jlnn nlfrg)l ,25.2.02
                                                 o1): ,''lllNf, 11111-11 ')rr1;1 trv/N)n ri'llr5Ih-l9-19
                             ,8'f N bu utFg Errnx oy lnu n)\ll3
                                                                          D"l)
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      utst o)1]DNi] l)vJyllr n)ltll Etv/Nln      olr ,)yt     1lllNn    ly'lnf
                                                                                   '11))n1
       lntnrnb,ln1nf u5]f ,?"1 1)9J91N ln'tn1nD !u
                                                      tntn)')vrffhi'l b'lv/)Nn
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       nl-ll-pN )'t,lb t,t, nt:lnn lyu)t \11)sD nNl)nf                      '"\
                                                ,o))Yjl1)f 18 1p'l)N 9lllu'lNl


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       -!,,yrnrr,l\n\rlf nlN-lln r:'i: ty) {N}51 'g u} nl)ry 'nlllff
                                        ,nlUy) nt)lnx 15r) tl1l t:) t4 'v + 1170
                                                   nl)3         1ntrn1        trVJNn 'n!f!!!-tg:g
       El]Vr)Nn Ut!: nl'lN]nlln nl5io)] ,25.2,02        '"11\Nl         ')")n
                                .trIN )vr lntDS o:1nN Oy tht3 il)'l'lll bl) ,tvtDnn
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       \rig: otllhNn l)uynf il))'l:l DvJN)n brl )ry9 '1lnNn                 r'lll1n1

                                                           nntt:) 'rvlthhn blv,/lNn
       ilNrn )r,\ itlv,, .ilnlnt ?) llf ,)"'l 1p\1 nlu bur
                                           r")' nbrnn lyDh \11)$D nNitns nnln nN
        lp 1)N ul:\\rlNf n1l)''llN )1')n
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        .),,Yrnn,],}nuuntN1.li}1]1]]l!(N}5t.Dis5n1']p,n)]l:]n.,,,,no,',ffi
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        trlt,tNn Vlrl nllNl1lp;l nll)gll '25'Z'|Zplll '111N]            '!")n
                                   olN )u tnlnS ortnN ny lntl n)l])r
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                                                                                  '!v',l''Dnn

                           r)v/ynl n)r,nr ovNrn otl )ty) rDNn
                                                              Tl'ttlf rl))rnr
        \r1!l orrrnNn
                                                t1)lt         )V nntn)             tr'lur)iln
         fiH nHyD ),,1 lr)D ,ilnlnl Z0 nf ,)"1           1)!9           ')vJlEnn
                                          )1')tx t'r!' n!:nn 1!un \tl)lt3  nN!]'1) nnll)
         18 'li, 1)N 91f,]ulNl n'r'11-1lN
                                                                               ,b)r1.,'t1u


                                                                                       :19!'hlltrtr 9ln
                                                                             nlltl rnl'l) :lltrt'fil tltatl
         -)',v;nil,\lng)f nlN"lln lrrr ty) (x)51 '9'9) nltty 'n):l):
                                          ,n1):y9 rrltlnN lb:l 1ll1 ll) 14 '9
                                                                                       + 19i0

                                                       b]r] ',11\Nl tflltnl 'b")n bvJNln ifl1!181!{t'1'!
         blu)Nn u1!:'llllNlnnil nlltp)l '15'2'02
                                 .nrx )u lnltrb orrnN try ]n''l n)]l)l
                                                                                tr1)
                                                                                     'rtj'tDnn
                                            DgrNJn    ou     lrvl  ''l'llliln 'lylnl 'llt'nl
          uttt brllnNn 1)!/ylll    n]1111
                                                     )t'{)lll )v; tnttl) ',)v)tlni1 OlV/rNn
          NtD ),,t 9N}D ,ttrtt:r 16 lf, ')"1 \'tt!11
                                     t1')ll yr)' nSfnn lyull \ll)9n flNJln)'lnln nF{
          1i7 1lN 9]llulNl n111"'llH
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                  'r"\2nn ,l1hu)t f'tlN'rtil -t:r: ty) (NI51 ,u rt,
                                                                      nt):1, ,n)t,lf,t fil.t,it nnrl) iiltrtyh h',th
                                                      ,ni'ly) rPtnil r))3 .trlr ttb 14,, + t?70
                  glvl)Nn u'r!r n'.N''l'n
                                            r*)gr: ,?.5.2.02 D'f, ,11lNf ,r,.rr)n.,5,,Jn ouN)n l,.,lrrlrn r,l10
                                          .srN ru) t'ltn) ortnx try lnrl n)t1u Ell)
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                  ul93 trltlhNn ]rv/yht njl'5 bvjNln Or:
                                                                    !ry) 1lbNn l).',tb: ,lj*n1
                  tlN NsD ),,1 pnsr ,lnlhf, 54
                                               lf ,)r,\ 9)f,) itn.t, )u lxllll) ,rgr6lil c,lvrNi.l
                 18 lp T)N u,ElutNl nril_lfN )J,}J r,,!
                                                              ngrnn ilun \lrrsD nN$rlt thl,)
                                                                                            ,gr)grpr1


                                                                                                            !Ertui, gts
                 't"U,nn,]ln9r] J.lNltn f:f:,lSb (N)Fl ,p,,S! iltrtlr,nJ1,t5t
                                                                                          flt'l nnrl)
                                                                                                -._..,ry Inlrilnrrtn,i
                                                .nlr:yl nrrtnN r)!r rrrr ly) 14 ,D + l9Z0
                 orY/lNn u-10f, n)lNln,rn n*)b,'
                                                   i5.2,oz ol)l ,1ltNf, r,r'n! ,b,,)ir trlr*ln rnltllh,tUtg
                                         ,orl )u tntnb orlnN b), _rnrt n))l)f b.t)
                                                                                      rrv,lrhnn
                p19r Dr..l,tDNn ))v/yDl nl'f:
                                                  bu,N,n b') )ry' llbNn trlht
                                                                                        rt)))n1
                )',1 orll:,)r,lnt 55]I ,5,r1 !pbb,l5l)tlc/ Errlt
                                                                 lgr lr,lD),rylrp6,.t,blvJrNil
                pl:t\r)Nr nll!-.t:N )T,lD l,ry
                                               nrrnn llub \l!)5n ilNtrn) .trrlri tlN RtD
                                                                            .olrYJl]r: t8 tP llN


                                                                                                   r lhNl trr1VJr gl!
                -)"Y/rn ,llhutf nlNlln .l'u
                                             N) (N)51 rp r!, n'.1):y ,i-l)tlff, niln,tn)tt :fllrlr,iln,f,
                                              ,nlflY, nltln1 r))r Urr U, l4 ,U + t9Z0
               Drv/rHn u19r t.'llNrnnil nlr!9r:
                                                ,25,2,A2 brrt ,1't$ir r,..,lln: ,),r,n buN)n :l'tttll,lt rUto


               u..,!: D,.lrniln,,ruo,       l,f,3'Jff'Xl ;l;Ti:'il;':l::l
               lnrn rN Nsn ),,r \tg,tnlltt 6l
                                                1f,,),,1 \l) \.r9 )u rnrn),)ur,jnn oturNn
               I8 1i7       UlrrglNr n"rll-rf,N rr,)lJ 1,,! nlrnn
                        ')N                                           lvun \l3r!)3 ilN,lnf
                                                                            , ottv/ll)l
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                                                                                              lblrul Etluy 910
              ')"v/,.'n             nrNllir lrrr tvb {N,5I ,g r!) n'.'ly rnJ'f! rllb
                          'lrhp!;                                                           n')l) rnrr5rJ.,,rrt,r,
                                                  .n'plll I!).lnN rblr t:t: u9 l{ ,u + 1970
              trlv)Nn u.lg: nl!.lN)htln nlt,rrr): ,25,2,02 D'l)1
                                                                ,1ltNl I'll)itf ,),,Jn avN)n                     'lD
                                          ,o?N rV/ tnlnl Frinx by rnrf, n1t)f, olt
                                                                                      r,U,bDn
              u1s: BrtllSNit IrtJynx il)1lt3 pgrgln ot) ,ry, 1.|l)Nit rl,t)j:
                                                                              rll)rn.t
              n))utg ,nnlDt ]J n: ,!,,r i?Nrltr,) n)lutv )v irlrn)
                                                                   ,rurhnn Dlu/rHn
              nrtl-tlN tl,)n r"y n):nn 1!un \!rr!,: nNt,t'lf nnt,l nN nNiE
                                                                                  ),,1
                                                              ,br)uJt..l)f, lg ri? l)N p,trlutN:


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                                                                              UTHHA f           lNlqn!:
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                                                                                        I nu1rul.tr!rgrr   9!l
         -b"V;nn ,l]nutl J]tNltn'nt:l N) (N)St ,O )9b itluy
                                                                     ,illlff n.lllt nlt)t) ;;r1rllnhEJl
                                           ,i'rt'1y, nl1lnN r))t ,.ltrt ,lt) l4 ,v + 1g70
         olv/fNn u15f tr)rNrnnn nlllvJl ,25.2,01 bl)f flltNf rnl)nf
                                                                           r)',)n otlJNrn rnJrrlrn ru-r!
                                  .orN bu tlln) otrnx Ey .tn)f n)113r bt)
                                                                     ,,,t'hnn
         $-15: DllilJNn l)vJlDl nlilrf, b.v/Nin ou )tyl 'llnNn ry!)3f,
                                                                                     ,l)1in-r
         ),,1 1]rh9 .tntht 60 l3 ,)rrr r)r1y.lp-.1)t ,lt)np bv/ lnUdb rr\lr)hhD blu,Nt.l
         p'lfl\r)l.{f, hrl)-lfN tJ')}l rly n}:nn
                                                  1y$n \ll}gp nN.y'ylf, ll)h nX NJn
                                                                   ,or,vln:f lg ]p r)N

                                                                               ifi!:rill ErlU! U1!
        'l',grfin,llhU)i ntNttn "rff: tf! (N,Sl ,u r!) nlrly rn)t,tlj n.llh nnt..l) lnfrfJnll'1!
                                       ,nrr:yb nl.1nN rr)r lirt ]lb 14 ,g + 1970
        trw'lNn Dllr n1lillnnn n'l:,0)l ,25.2.01b'l)] ,llrNt ltlllhf ,rr,)n trgN)n ;ilIrtlt! fu!$
                                  ,s-rN )V/ lnu) ortnx try -th)f il).t.|)t tr.I) ,)u)bnn
        u103 b)llllNn ]ru),nf n)!lf: ouN)h orl )r!) 1.tFNn "r),lnr ,l))rn.T
        rN NJn )"\ pnt) ,'lhtnt 57 1f ,1,,1 r:)x pnrr )vl utnt ,rvr)nnn trlulrxn
        18 lP I)N pllru'rN] il1il-'lrN )1'lrx ),'y n):nn
                                                         llun \13r0,1 nNvrnl rilrJ
                                                                             ,   otrv.rlllf

                                                                                      !t1Uttlh1 tttlUlr gl!
        -)"V;nn,llnurl h'lNl]ir 111: tlt {N)51 ,v rl! itlr:}r,n)],t:f, n]lh }lrlrt} :h         h'lntr
                                       ,ntrty, rl)1rlN r))l .r:"r: lJ, l4 ,u + Itio
        trlvllNil u'1!: nllNlhni r):ru)t ,25,2,Q2 trl)l ,-11\Nl lnllnl ,t,r)n DvJNn :i1lril,ir r9.lo
                                ,DlN )U' tntnS 0rlnN by lnrt n)ltlt trt) ,rulDh;l
        u19f, o)l\lrNn ]il/lyDt i'ut1)r bv/N)it b1) )ry, llDf{i-l ll,,thl
                                                                              ,,l])r;17
        nN NJn )"1 lDy ,lJrln: 5g ll ,r"t !11),tvn lny lv rn)r:) ,rgnpl-1n DlU,)Nn
        l8 lp llN Vll\ulNt nTl].llN )1,)E )',! a):nn pun \lJ)Db nNJ.ln, l'1tn
                                                                            ,Brrullrl

                                                                                      iilUtl{Jl FtlVr! U'lO
       ')"vllil ,t\nu)t nlNlri] 1:1t Nl {Nl5t ,p !c, ilrlv ,nJ]l:n nlln rhllr inurt,r! hrir!
                                     ,nTl),) hl)tnN t)): t:r: ti) l4 ,E + tg70
       tr]\r)Nn u19t nllNlrlhn nl31v)l ,25,t,02 blt: r''lltN: lnrln:l ,r],)n bgN)n lirlrrra
                                                                                                     lgt!
                      .         .oTH )u tntn) gllnN o), Tnrt ntll)f B1) ,ru)nni.l
       glrt Dt1'tbNn rrv/yllf, iDllf,: ou'N)it tr-l) ))yg ltuNn rltDr ,l)'1i-li
       nN N!n b,'t n''1N ,\n1ht lg .13 ,)"1 rvlf il)"lN )u thl't, ,rv/),lnn btv/rt{h
       l8 lF 1)N Plf,lU'lNl nrll-)tN rT,)lt r"y n):nn ]!Ul: \tt,'!,) nN!tn) tnlF
                                                                            .0rr\n1)f

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                                                                                             ihlr.ul PrrU! g:g
         -b"v.rnn,llnur: nlNltn 1:l: tsb
                                                   {N)51 ,tr )!b ntlf,y,n)jt5f nlt13,llt'.1) .rnJrtr,ahtnlr
                                               ,nll]y) Ilt^111n rllt irrr tj) 14 ,b -t- 1920
         UlUtNn Ul$f fl)'tN'}nhn nllrp)f, ,ZS,Z.0Z ol).f
                                                             ,l.tlN: 1flpn; ,)rr1;1 bWH)n ,fll!!rh )UlI
                                   ,b1N ry/ lfltrJ! trr"1nN Ol, 1n): n))tlt Dl)
                                                                                  rrv)Dfli]
         tl'19f E)tllf{n            n'*1 b*'N)r'r glr )ry' '11'Nn 1!l}' ,))),n-r
                          'v/ynf
         )nlb IN X:lc 1,,3 llr),lnt,tf, ZJ l: ,!',r ltU,llr, !U rnrn),,)v/),Jnn
                                                                                DlV,,)Nn
         l8 lP l)N Dltl9lNt n'Tt).ltN l1')lf ),,y n):nn
                                                                 1lun \)t)!D n1ynl
                                                                              ,h)rul'If,

                                                                                         rllllrlUltrt1Vtr pr!
        -)"\rhn ,ltnuu rltHl)n -lfrf, t, (N)51 ,g )!)
                                          ,l
                                                                il-t,':), ,nJil)t rltD rD)1)    r   i1l   hrilrl
                                         nll:yl nl)]nN )r)l 1:1t rY) 14,9 + 1970
         blv')Nn u1D3 nllNlnDn nrlu):
                                           J5.r.oz trlrr ,1)lNr lnl)n.r ,r,,)n FvrNril ;n1lg,l1 ,9tD
                                ,oTN )U' liln, orlnN by lnrt n)l.l): o-l)
                                                                              ,rurDnn
        urtr or11'3Nn lrv'y': nll'|,: bg,N)il blt bry, 11ENi-.r lyrnf
                                                                                ,,lJr)ir-r
        ,'lrlhr 24 ]t ,),'l nDDN)lp .llnntt tn)y )NNl !v.i tntn?
                                                                   ,lvrlhnn lvlNn
                                                                              t
        n111-1:N )1')rr
                          " ilhnn lyu, **15h ,-:Jll]j;,ilT:il,:il
                                                                                        lillt!(,,ht Ot,tgy UtO
       -b,,vrn ,llnutt ntHl)h .tt.tl 'lJ) (Nl5t ,9
                                                     U) n])f!, ,n)t,lll nilE nttll) !i1t        hltlh
                                       ,h'lrty, n]'lnN )rbt ]l]t u5 14 'g + tg70
       olVl|ri'r u'r!f httNlnnn nlr'r9)r i5.z,o2 blrr
                                                       ,r'nN3 rJ.llrirr ,),,)il Dy/N)n :h tll,h tulo
                               ,BTN !y/ !ntb, b?tnN try lntl ill,ll53 bt)
                                                                              ,)y/rhhn
       u''tl Er.1'3Nn         nlll:r ouNln tr11 )ry, .,lrnNn
                          'v/ynl
      rN nNrh l,,l nrsln .nfitnt 20 rl ,uDN n)Dtn ,llj iuill'     '!,rnf
                                                                          ,lr)ri.''-r
                                                              ,ry7r13p1n Dtur)Nn
      n'rNuhlu)'r)D9 nJnNlr brnN"l]N r,,y nt:lnil
                                                             ]yun \lJ'$b nNJlnr nn]rl
                                                                         .ltyi?utN tr,l)Jl



                                                                                               iE!Utrtt, u15
      -)"!;rn,lthurt n'lNiln lt]t tyb
                                               {Nl5l ,!'!)   ililty,n)l1lt nl1h y1tllt) ri.tirl,Unnl&
                                        ,i]1rty! np..|nN r))r '1rr: ,rJ, l4 ,V + tr70
      thlbb Di'?nN Dy lnr: fiJ.tltr oi),3,3.96 blrt,lltNl
                                                                   lnlul:,)"ln bg$n rhlrl!il rg1!
                                                                                .nri,{ )\,
                                 .|'nl bgNJn .,V)fJ
     'nl)Nlr., lr9lll 'rN,'                         ,28,2,96 ,.li7lJl )I,,rr..l Dl,,:
     'LlNntln y),*,, i7,tpl Nrn t)
                                    bv/Nl) 19D]tlnNil),E'i-r,tlo Bt3r9y oNnn:
     buD nJlyil tr'N 1))rl r'{ln r) )t 1!)O
                                            F'/NJn .19.}J nrl:Nrli.' y1))5 yly)r}
     ,y'l)rS yJl) Itlly,ti..t ,,'nrtJlbrN il)ntr,, ).,!r!
                                                             ,r:tJ,yv brtl N,,y TNN.l

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                                                                                 u')l)l ]y5i7 bl')Y,nl
      X'1) 1),N ,T}u}Jf b))lnlfl nlyv|f, O.)il nlhh: lulj
                                                                             gvjNil
      rl 'rurlnn nvJllvJn 'nllN] l)3trl'{l l9n u.|)s z8'Z ?6 >1)l 'lNN1 nN
      '19n1 ,11)lnbn i{ln ntllNni}n !'t)tg
                                              lyrf vJ}lY'': tr')u1111 l8 ]P :]ltul\
                                                           )NJ]l]] :tvr lurtlo) ott]v/) nrtnl
      n)rrn ov,l) ,or)tnn nr:b ]tnv n]v/
                                                                  rtNJlFn )')!)ln
                                    )'l)')t yt:': nxrP) 'n)yNll1F
      llurNl tr])1 tr'-)t ntl:Nllnn
                                                                          '1pllr
                                                 ouxln ilg '29'Z'96 ''tv/lnn n1ll
      ly r"ll'f:,,)iyg r:1r '19'11 u1]'!u rRNr!
                                            ytt)r tvltc! ])t)lyr rr5Ngp)l'( lt1-N
      ll)nf, l)un 'tNl'tl ,ntNlJ nt)ryl)                                         ^1)Ul)3           t1i-lJXl
                                                          tu'tg
      ,nbN,9 lgnl ul)'yvJ 'lNN1] trurHln                 'n))xnrl            'bl)il
                                      lv/l nl:t)n)f   nnlurb   or')vtn nN r)nlfl Elv;illn
      lNN-r, y)ln lpn 'n))lrr)
                                                                               U))l !r:l
      y)tn 'lllnNn ."6NPP)N l1-N ly )111)" byun n113Nnn
                                                    u')5nb 'lyli? 01t)Y'/n1 J)t lnDlun
      'jlDU ,rgrlgr ot) ,l1yl nlnby n))v/                                                                                                  tt
                                                                                     'uvn9
                                                       trli?D:l] ly\nf 3'96
                                                                                 IV/?VJ Epl
       nu: ]!tlln'l lNN-]] lgn vJ)! 'trl'ul)nn 'lt1-N )n1n fll-{',1Y/n''v/v/ 11np}]n
                                                 f'11lvj
       lyu)! nN lbn'l)i?nn ov 'n):Nlx]]                                   ll          nblnn
       ,)urbnn olvl)Nn u'l!:
                                  brlNtn'n il5lnn llI',UD nN \riTnil 1!lxr
                                                                                  olpnl lN
                           rlnuD: g91) tryoil v/Dnv/n 'nfnn n1)'1'1113
       1rn rnx) ,n)fiD
                                                                          i71n Jlnl ln')n
        \lJls) ,19;00 ilyu.}, Jlt'v ,2 3'96 nlVJ
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                                                          'nrnn) 'nN'tY/)
                                         cjy ,n)lnn 'l!u): rll i71nn
                                                                       onl'9r 'lvnl 1NN1
        nrlrnn   nrr tr5  ollNl   lD1tN
                                                         )) 811)u) llru 'lun il))Nnll
         ln! n.lnl rrxhnn y)Dnfl ll''n lNN1
                                                            n:nrrb tptrr ntnn) tlr:ln}
        y))'9 nN 11 yvllv.r nln iy ,18 \ir ulf\uln
         lt]y n)lnn lyuDgr: bt))un )ur
                                               s::r! 3))) 1NNl l))lnhn t1'llrNnnil
                                                                            ,   or1'trNb \Yu) n!Jl)!'rnl
                                                                                                          B'}!f
                                           6:20                   nyu'b llng '3'3'96 'llv/1"{1
        1Nt1n rl1)u 't), 1$1 lln1l r1i71]f                                                            lt)'ll)n                               I
                                          'lyun nN r3t;'!v'r lNN1 \l\D 'b))v'11)1
         Jlnl !,g)vJ ny: n):nn                  nNSltrf '01)v'l1u 18lP
                                                                       l)N vll'lulN
         rl! t)t., )v lnln E-t))l lNNl )ln) l)D                             rlp                            ')'t\
                                                                            .]n]ll] 23 1f, ilrt-l

                                                                                                              ;1U{l trt!u\tv/-\tlt
                                                                                                 J1l'}ll n}l)..l)       tyrl
                                                          19) fl-!1fy
         -),r\rnn ,'l1n\l'rf   nlN'1)n'l]]f, 1J:'{N}51 'B             'nltlil
                                                                                            t:! t* 's + 1970
                                                       .il-l)ly, 1plnN ))!)
                                                                                   "'1111

                                                                                     \n1)i-]1           utJN)i"l    rnlr|Yit lVll
                                    n\119:l 'J',l'96 O'l't1 '1',l1Nf,         ',)")i-l
          o'l\rrlin u'l0f n1-lNlnnn                                          pr;             i'l
                                      yg          n!1nH   By  1;111 il)l1)1        'orut)tf
                                  b'p    lnrD)
                                                                      'l]nNfl 1i'1111 '1)rti11
                                                    ltY,,ynl '!ry)
                                   \)-1t1 trlllbNn
          O1I ,D)\rl)v/n trltJrNil                              )tJ 1n111) n)ll'Jl ouN)n
                    NJt) )"1  grrn '1r'1151 l9 lf ')Tn! o''rn
          tn'l)] nN                                 r"! nb:nn 'lytJll \\l)sl1Jilt'j:
           l8 til :)N  qul\','lNt ul)'yv/ 1NN1




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                                                                                                HlHlJ,\ TJ ]BHj-t'135l]B:l'lidj
                                                                                                                                  fi :?T eErEe :,J' SfKY
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                                                                                                         I tr!!t!,r1 _or!,rttu o.to

                   '),,unn,'llnu): nlNltn ttl1 \t) fN)51 ,p lt) nlrty,n)!l)t nlln nnr.t) lnlrilnrllr!
                                               ,nltl!) nl)lnN )))f')l]f ly) l4 ,D f 1970
                   D'l9,tNn UlSt nllNlnnn nltipJr ,3..1,96 Ollt,lltNl )npnf ,),':il nUN)n :ilirit,it ilrto

                                           ,b.tt{ )V, tnlDb tr)1nN o! -,nrf, n)t.llt ot) !o)Vjlrvril
                   tr'1) ,or\r'rbv,ril D'l\r)Nn pttl D)1lnNn l)U!lo: ,rry) llnNn T),lnt
                                                                                                    ,l)r)n",
                   lh)n nx Nln      )ily,)h)nt 4? lt,lnl 1\1! )|{J urtt) njlt:: ctv/N)n
                               ',,t
                   18 lP llN e)t1o)N: rf,)J'!\t TNNt r,,y nlrnn lVun \)y)DD ilNttnl
                                                                                            .   Brru,"l1)3


                                                                                   invJtrul orv/ltu uln
                   '?"vnn,l]np)l ntNltn lt]t lt, (Nj5l ,9 )S) n1.,f,!,nJilf,l nltn nn)1) :nlftlnnlil,l
                                                    ,n]'rf,lj! nrrlnN rr)3 lt.lt lt) lq ,9 + tsTo
                   olvr)Nn u1!t n1'1N1n|an nllrp)),1.3.96 B]!f,,111Nl lntln: ,t")i.1 ogN)n                                              full
                                                                                                                         :.ir"l_l?Jrl
                                   '      .nlN ru lnln) orlnN oy ln)f n)11)r Dll ,n)gtlun
                  Dl) ,D!Ul)\rn trlvJtNn U151 D)".)'rnNn pvrylol ,)ry) lttrNn rlrtnr ,,|)r'nr
                  nN Nln ),,1 :ltJ.ov; ,lnln! d3 lt ,Jr)U I1U-Dlll )t; tntt:) ilJlllt tr\1N)il
                  18 '!p t)N b]:lu)N: rrl),ygr lNNl t',!, n)rnn
                                                                 lyun \lllon itNytn3 lntn
                                                                                           .o:burntl


                                                                                                   tni,l1Nl rJ rgrllu u10
                  ")"unn ,llnutf ntNrtn '1:'l: rxb (x)lt ,u rg) ;11r1y ,n)lllt ,116 nnr.t)                           i   lr'rt:Yi nlilq
                                                   .n])ly) flplnH r!!r t:r: ly) l+ ,g + tg1o
                  D'l\rrNil u15t ntlNlnnn nltrp)f ,i.i,96 nrrt ,.,l1lN] lnl)nf                                       ;111tll,i'l tg15
                                                                                    ,),,Jn DUN)n
                                         ,ElN ru' uln9 ortnN oy.rn,,t n)lt)t D.t) ,trrutry.,i.l
                  El) ,O)\rl!l1.Jn DlvJrNn u1t: D1'1\bNn t)vriJDt ,)rlr) rtt}t;r tltlrrf ,tJ)rnT
                 5"I )Nru).lnlllt 4J lr,,r)rlttJNrrvJ,trly )Nlll) )u tntn! n;ill1 DUN);
                 ])N I'n'ru'rNr )rl)'!u,'INNI r"y nhnil lyun \rvr9D irNJlnl 1n1r1 nN NJ))
                                                                                .81)V/].lrt .tg lP


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                 ')"urn,'l)nDrf nrN1ln rrrl rr) {Hl5rio )i5 n1}ry,i".rJ.r.}3f nlln n,rr..r)
                                                                                                                 i!_lrryhr.llilrl
                                                                              ,l!) l4 ,g lg70
                                                  .nl)t)rb r)r1nN
                                                                    '))) lltt           +
                 O'llr\N;1 D"1!l n1'lNlnllil nll19)1 ,3.3.t6 D1'l ,tllNt tnl\itl
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           Translator's
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Case 1:18-cv-12355-MKV-DCF Document 177-20 Filed 05/16/22 Page 121 of 126




     TINITED STATES DISTRICT COURT
     SOUTHERNDIS TRICT OF NEW YORK
      SHABTAI SCOTT SHATSKY, el a/',

                                     Plaintiffs,
                                                              Case No. 18-cv-12355 (MKV)

      v

      THE PALESTINE LIBERATION
      ORGANZATION and THE PALESTINIAN
      AUTHORITY,

                                   Defendants.



                                 DECLARATION OF YANIV BERMAN
                                                                           follows:
             I, Yaniv Berman, declare pursuant to 28 U'S'C' $ 1746' as

             l.IamaprofessionaltranslatorwithanM.A.degreeinMiddleEastemSfudiesfrom

     the Hebrew university of Jerusalem (Israel). I
                                                         read Arabic and English fluently, and I am


      qualified to translate from Arabic into English'
                                                                                   translations of the
             2.      I certiff that the attached documents are true and accurate

      Arabic originals designated as "shatsky-JD00012" through
                                                               "shatsky-JD00534'" The

                                                                       to the original documents, with the
      fanslations are labelled with Bates numbers that correspond

      additionofa...T',attheendtoindicatethatitisatranslation'
                                                                                   documents was not
              3.      To the extent that some of the information in the original

                                                                 English to the best of my ability' Such
      clearly legible, I have translated such information into

      instances are marked with an asterisk ("[*]")'
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              I declare under penalty of perjury under the laws of the united
                                                                                States of America that the

      foregoing is true and correct.


      Dated: June24,202l
                                                                       aruv     erlnan




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